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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,

                                    Plaintiff,

                  v.                                                              20-cv-10832 (AT)

RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, and
CHRISTIAN A. LARSEN,

                                    Defendants.



    ANSWER OF DEFENDANT RIPPLE LABS, INC. TO PLAINTIFF’S COMPLAINT

         Defendant Ripple Labs, Inc. (“Ripple”), by and through its undersigned counsel, hereby

answers and asserts affirmative defenses to Plaintiff Securities and Exchange Commission’s

(“SEC’s”) Complaint (the “Complaint”) and reserves its rights to request dismissal of the

Complaint on any and all grounds. Unless expressly admitted, all allegations set forth in the

Complaint are denied.1


                                      PRELIMINARY STATEMENT

         1.       The Complaint filed by the SEC advances an unprecedented and ill-conceived

legal theory — with neither statutory mandate nor congressional authorization — that Ripple’s

distributions of the virtual currency XRP constitute “investment contract[s]” and thus

“securit[ies]” subject to registration under Section 5 of the Securities Act of 1933. 15 U.S.C.

§ 77b(a)(1). That theory ignores, among many other things, that XRP performs a number of


1
  Ripple denies all titles, headings, footnotes, subheadings, and any other material not contained in numbered
paragraphs unless otherwise noted. Ripple also does not admit to the propriety of the various pseudonyms set forth
in the Complaint. When a document (or statements, conclusions, or other material references therefrom) is
referenced in this Answer or the Complaint, it speaks for itself and Ripple denies any allegations or characterizations
based on the document. Ripple reserves all rights with regard to the existence, authenticity, accuracy, and
admissibility of such documents.


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functions that are distinct from the functions of “securities” as the law has understood that term

for decades. For example, XRP functions as a medium of exchange — a virtual currency used

today in international and domestic transactions — moving value between jurisdictions and

facilitating transactions. It is not a security and the SEC has no authority to regulate it as one.

       2.      Before this case, no securities regulator in the world has claimed that transactions

in XRP must be registered as securities, and for good reason. The functionality and liquidity of

XRP are wholly incompatible with securities regulation. To require XRP’s registration as a

security is to impair its main utility. That utility depends on XRP’s near-instantaneous and

seamless settlement in low-cost transactions. Treating XRP as a security, by contrast, would

subject thousands of exchanges, market-makers, and other actors in the gigantic virtual currency

market to lengthy, complex and costly regulatory requirements never intended to govern virtual

currencies.

       3.      In 2015 and again in 2020, the U.S. Department of Justice (“DOJ”) and U.S.

Department of the Treasury’s Financial Crimes Enforcement Network (“FinCEN”) determined

that XRP is lawfully used and traded in the marketplace as a virtual currency. Those

determinations are consistent with the economic reality that XRP functions as a store of value, a

medium of exchange and a unit of account — not a share in Ripple’s profits. When the DOJ and

FinCEN reached those determinations in 2015, the SEC said not a word. Securities regulators in

the United Kingdom, Japan, and Singapore have likewise concluded that XRP is a virtual

currency not subject to securities regulation. As the U.K. Treasury recently explained, “widely




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known cryptoassets such as Bitcoin, Ether and XRP” are not securities, but “[e]xchange tokens”

that “are primarily used as a means of exchange.”2

         4.       The SEC filed this Complaint 8 years after XRP was created, 5 years after the

DOJ and FinCEN characterized XRP as a virtual currency, and after more than 2 ½ years of

investigation during which the SEC allowed Defendants to continue to distribute XRP, allowed

the XRP open market to grow, and allowed millions of market participants to rely on the free and

efficient functioning of that market. The SEC’s filing, based on an overreaching legal theory,

amounts to picking virtual currency winners and losers as the SEC has exempted bitcoin and

ether from similar regulation. It asks the Court to contradict the findings of the agency’s peers in

the United States and internationally and subject what has been a global virtual currency to

conflicting regulatory regimes on a nation-by-nation basis. It also threatens to damage U.S.

competitiveness and innovation, at a time when the United States has national security concerns

about China’s efforts to control bitcoin and ether mining pools and seize control of the global

payments market. And the Complaint’s mere filing has caused immense harm to XRP holders,

cutting the value of their holdings substantially and causing numerous exchanges, market

makers, and other market participants to cease activities in XRP. In bringing a case that alleges

an unregistered offering of just over $1.3 billion “from at least 2013,” the SEC has already

caused more than an estimated $15 billion in damage to those it purports to protect.

         5.       Ripple. Founded in 2012, Ripple is a San Francisco-based, privately-held

payments technology company that uses blockchain innovation3 (including XRP) to allow


2
  HM Treasury, UK regulatory approach to cryptoassets and stablecoins: Consultation and call for evidence (Jan.
2021), https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/
950206/HM_Treasury_Cryptoasset_and_Stablecoin_consultation.pdf.
3
  “Blockchain” technology offers an innovative alternative to traditional ledgers for recording economic
transactions. Whereas traditional ledgers are maintained by one entity or individual, a blockchain is a decentralized
peer-to-peer database spread across a network of computers that publicly and permanently records all transactions in
theoretically unchangeable way, utilizing cryptographic techniques to securely record transactions. Blockchains


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money to be sent around the world instantly, reliably, and more cheaply than traditional avenues

of money transmission. Ripple is a global company, with nearly 500 employees in 10 offices in

the U.S. and around the world, that has worked steadily towards its vision of realizing an

“Internet of Value” — a world in which blockchain enables value to move as seamlessly as

information.

        6.       XRP and the XRP Ledger. XRP is a fast, efficient and scalable digital asset,

making it ideal for payment processing. XRP is transacted on the cryptographic XRP Ledger

(“XRPL”). XRP was originally designed to be a “better Bitcoin”: more secure, because control

over the XRPL is more distributed. The XRPL has, over eight years, processed hundreds of

millions of payments without dispute. It works independently from Ripple. No one party owns

or controls the network of peer-to-peer servers that powers XRPL. Nor does Ripple — or

anyone else — control a majority of the third-party validators that adjudicate XRPL transactions.

        7.       XRP is also significantly more environmentally friendly than bitcoin and ether

because it avoids an energy-intensive “mining” process. Bitcoin mining has been estimated to

produce approximately 48.5 billion pounds of CO2 emissions per year, whereas XRP validators

produce less than 1 million pounds. The computational power needed to mine and validate

bitcoin transactions leaves an enormous carbon footprint, as compared to vastly smaller amount

of energy consumed by XRP transactions.

        8.       Ripple did not sell or distribute XRP as an investment contract. Ripple has

never offered or sold XRP as an investment. XRP holders do not acquire any claim to the assets

of Ripple, hold any ownership interest in Ripple, or have any entitlement to share in Ripple’s




typically use a mechanism to validate transactions, which, among other things, aims to achieve agreement among all
participants on the contents of the ledger.


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future profits. Ripple never held an “ICO” (initial coin offering);4 never offered or contracted to

sell future tokens as a way to raise money to build an ecosystem; never explicitly or implicitly

promised profits to any XRP holder; and has no relationship at all with the vast majority of XRP

holders today, nearly all of whom purchased XRP from third parties on the open market.

         9.       What limited contracts Ripple did enter into with sophisticated, institutional

counterparties were not investment contracts, but standard purchase and sale agreements with no

promise of efforts by Ripple or future profits. Ripple has no explicit or implicit obligation to any

counterparty to expend efforts on their behalf; proceeds of XRP sales are not pooled in a

common enterprise; and holders of XRP cannot objectively rely on Ripple’s efforts. And Ripple

could cease to function tomorrow, but XRP would continue to survive and trade in its fully

developed ecosystem.

         10.      Ripple holds a large percentage of XRP, but that alone does not and cannot render

it an investment contract. Many entities own large amounts of commodities and participate

heavily in the commodities markets — Exxon holds large quantities of oil, De Beers owns large

quantities of diamonds, Bitmain and other Chinese miners own a large percentage of outstanding

bitcoin. Such large commodity owners inevitably have interests aligned with some purchasers of

the underlying asset. But there is no credible argument that substantial holdings convert those

commodities or currencies into securities, nor has any case so held.

         11.      The Complaint. The Complaint is a sprawling and convoluted effort to allege

that Ripple’s distributions of XRP (through numerous and varied methods) over a nearly eight-



4
  An “Initial Coin Offering” or “ICO” commonly describes a fundraising mechanism where an entity sells directly to
investors a digital asset that has no functionality or utility yet, as a means of raising funds for the operations of the
entity. An ICO typically involves the release of a white paper by the token issuer to prospective investors
describing, among other issues, how the token and the system would function in the future; how the funds raised will
be allocated; and what future efforts will be undertaken by the issuer to develop the system and drive returns on the
token’s price.


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year period constitute a single, unbroken distribution of “investment contracts” subject to

registration under Section 5 of the Securities Act.

       12.     To that end, the Complaint mischaracterizes, misunderstands or ignores the

economic realities of XRP, including: (i) that the XRP Ledger is entirely open-source,

decentralized, and operates on an enormous scale (more than 1.4 billion transactions globally

since 2013) outside of Ripple’s control; (ii) that XRP is and long has been a digital asset with a

fully functional ecosystem and utility as a bridge currency and other types of currency uses; and

(iii) that XRP’s price is not and has not been determined by Ripple’s activities — instead, the

market has for many years priced XRP in correlation with other virtual currencies, most notably

bitcoin and ether (which the SEC has publicly stated are not investment contracts). Indeed, as

the Complaint admits, Ripple has its own equity shareholders who purchased shares in traditional

venture capital funding rounds and who – unlike purchasers of XRP – did contribute capital to

fund Ripple’s operations, do have a claim on its future profits, and obtained their shares through

a lawful (and unchallenged) exempt private offering.

       13.     The SEC’s theory in the Complaint would read the word “contract” out of

“investment contract,” and stretch beyond all sensible recognition the Supreme Court’s test for

determining investment contracts in SEC v. W.J. Howey Co., 328 U.S. 293 (1946). As a matter

of economic substance, XRP categorically differs from the various instruments and business

arrangements that Congress authorized the SEC to regulate — all of which, unlike Ripple,

involve “schemes devised by those who seek the use of the money of others on the promise of

profits.” Howey, 328 U.S. at 299. Every other case in which courts have ruled that transactions

involving a digital asset were investment contracts involved an issuer’s ICO or other promise of

future tokens to raise money to develop a digital-asset product, as well as a contractual




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relationship between the issuer and asset purchasers. Ripple never held an ICO, never offered

future tokens to raise money, and has no contracts with the vast majority of XRP holders.

       14.     The SEC’s Complaint tries to overcome these legal obstacles by

mischaracterizing the record. For example:

               a.      The Complaint characterizes all of Ripple’s business transactions

       involving XRP over eight years, regardless of their nature, purpose, or manner of

       execution, as a single “Offering” — a claim contradicted by the Complaint’s own

       allegations of Ripple’s evolving business strategy and different types of sales and

       distributions of XRP over time.

               b.      The Complaint alleges information asymmetries as between Ripple and

       XRP holders in vague, non-specific terms, but it fails to identify any material information

       asymmetries and omits Ripple’s detailed quarterly reports about Ripple’s activities in the

       XRP market. Nor could any such purported information asymmetries, even if present,

       transform the sale of a digital asset into a securities offering.

               c.      The Complaint mischaracterizes advice that Ripple received in 2012, from

       which a reasonable reader actually would have concluded that Ripple Credits (a past

       name for XRP) were not a security.

               d.      The Complaint also misleadingly suggests that Ripple’s sales of XRP

       constituted a significant part of the XRP market, but leaves out that in nearly all periods,

       such sales constituted less than 0.4% of total XRP transaction volume.

       15.     The Complaint’s overreaching allegations have caused harm not only to Ripple,

but also to hundreds of non-parties that integrate XRP into products or offerings or otherwise

support XRP and to millions of XRP holders. It is especially important that the Court rapidly




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determine the most consequential and overarching issue: whether Ripple’s current distributions

of XRP are “investment contracts” under existing U.S. securities laws. The answer is a

resounding no, and reaching that determination quickly is urgently needed to provide clarity to

the market.


                      RESPONSES TO PLAINTIFF’S ALLEGATIONS

       1.      The allegations in the first sentence of paragraph 1 contain characterizations and

legal conclusions to which no response is required. To the extent any response is necessary,

Ripple denies the allegations, except Ripple admits, upon information and belief, that Mr.

Garlinghouse and Mr. Larsen have sold some XRP, but denies that Mr. Garlinghouse sold XRP

starting in 2013, and otherwise lacks sufficient information to admit or deny allegations relating

to sales by Mr. Garlinghouse or Mr. Larsen; and Ripple admits that Ripple sold XRP in exchange

for fiat or other currencies. The allegations in the second sentence of paragraph 1 are legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations, except admits that Ripple did not file a registration statement for XRP

with the SEC because none was required.

       2.      Ripple denies the allegations in paragraph 2, except admits that Ripple did not file

a registration statement for XRP with the SEC because none was required.

       3.      Paragraph 3 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. In

that regard, Ripple denies it engaged in any offering of securities; denies the inaccurate

characterization of the legal advice Ripple received regarding XRP; and denies that it engaged in

a single “offering” of XRP.




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       4.      Ripple denies the allegations in paragraph 4, except admits that Ripple did not file

a registration statement for XRP with the SEC because none was required.

       5.      Paragraph 5 consists of characterizations, defining of terms, and legal conclusions

to which no response is required. To the extent any response is necessary, Ripple denies the

allegations. Ripple also denies that the defined term “Offering” accurately describes Ripple’s

numerous different types of distributions of XRP over many years.

       6.      The allegations in paragraph 6 consist of characterizations and legal conclusions

to which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Mr. Larsen was Ripple’s first CEO from October 2013 through

December 2016 and has been the Executive Chairman of Ripple’s Board of Directors from in or

about January 2017 to the present. Ripple further admits that Mr. Garlinghouse has been

Ripple’s CEO from January 2017 to the present.

       7.      The allegations in paragraph 7 are denied, except Ripple admits that Mr.

Garlinghouse has stated that he is “very long XRP as a percentage of [his] personal balance

sheet.” To the extent paragraph 7 refers to the statements referenced in paragraph 380 of the

Complaint, Ripple incorporates by reference its response to paragraph 380.

       8.      The allegations in paragraph 8 contain legal conclusions and predictions about

future behavior to which no response is required. To the extent any response is necessary,

Ripple denies the allegations, except admits that it did not file a registration statement for XRP

with the SEC because none was required and that Ripple continues to hold XRP.

       9.      Ripple denies the allegations in paragraph 9. In that regard, Ripple has never

offered or sold investment contracts in its distributions of XRP.




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       10.     The allegations in paragraph 10 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations. Ripple avers

that it has never offered or sold investment contracts in its distributions of XRP.

       11.     The allegations in paragraph 11 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies that it has engaged in any

violation of law and refers the Court to 15 U.S.C. § 77t(b) for its true and correct contents.

       12.     The allegations in paragraph 12 describe Plaintiff’s prayer for relief as to which

no response is required. To the extent any response is necessary, Ripple denies that it has

engaged in any violation of law, and denies that Plaintiff is entitled to any relief whatsoever.

       13.     The allegations in paragraph 13 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple admits that this Court has jurisdiction

over this matter.

       14.     The allegations in paragraph 14 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple admits that Ripple is engaged in

interstate commerce.

       15.     The allegations in paragraph 15 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations, except admits

that it has an office in Manhattan.

       16.     Ripple denies the allegations in paragraph 16, except admits that NewCoin, Inc., a

predecessor to Ripple, was founded in September 2012, and Ripple is a Delaware corporation

with its principal place of business in San Francisco, California, and has an office in Manhattan.

       17.     Ripple admits the allegations in paragraph 17.




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       18.     Ripple denies the allegations in the first sentence of paragraph 18, except admits,

upon information and belief, that Mr. Larsen is a California resident who was born in 1960; who

was a co-founder of NewCoin, Inc., a predecessor to Ripple; who was the CEO of Ripple from

October 2013 through December 2016; and who has been the Executive Chairman of Ripple’s

Board of Directors from in or about January 2017 to the present. Upon information and belief,

Mr. Larsen received nine billion XRP in 2012. Ripple otherwise lacks sufficient information to

either admit or deny the allegations in the second and third sentences of paragraph 18 as to Mr.

Larsen, and the allegations are otherwise denied.

       19.     Ripple denies the allegations in the first sentence of paragraph 19, except admits

that XRP II, LLC is Ripple’s wholly-owned subsidiary. The allegations in the second sentence

of paragraph 19 contain characterizations and legal conclusions to which no response is required.

To the extent any response is necessary, Ripple denies the allegations, except admits that XRP II,

LLC was founded in 2013 and has been organized as a New York limited liability company since

2016. Ripple further denies that the defined term “Offering” accurately describes Ripple’s

numerous different types of distributions of XRP over many years. Ripple admits the allegations

in the third sentence of paragraph 19, namely that XRP II is registered as a money service

business with FinCEN and that the New York State Department of Financial Services has

granted XRP II a BitLicense to conduct certain virtual currency business activities, which is

consistent with U.S. authorities, both state and federal, recognizing that XRP is a virtual

currency.

       20.     Ripple denies the allegations in paragraph 20, except admits, upon information

and belief, that the individual referred to as Co-Founder was born in 1975; is a resident of




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California; was a co-founder of NewCoin, Inc., a predecessor to Ripple; and received nine billion

XRP in 2012.

       21.     Ripple denies the allegations in paragraph 21, except admits, upon information

and belief, that the individual referred to as Cryptographer-1 was born in 1969, is a resident of

California, was Ripple’s Chief Cryptographer from October 2013 to July 2018, and is currently

Ripple’s Chief Technology Officer.

       22.     Ripple denies the allegations in paragraph 22, except admits, upon information

and belief, that the individual referred to as Ripple Agent-1 was born in 1970, is a resident of

California, and received two billion XRP in 2012. To the extent Plaintiff’s use of the word

“agent” here and throughout the Complaint characterizes the relationship between Ripple Agent-

1 and Ripple, it is a legal conclusion to which no response is required.

       23.     Ripple admits, upon information and belief, the allegations in paragraph 23,

except to the extent Plaintiff’s use of the word “agent” here and throughout the Complaint

characterizes the relationship between Ripple Agent-2 and Ripple, it is a legal conclusion to

which no response is required.

       24.     Ripple denies the allegations in paragraph 24, except admits, upon information

and belief, that the individual referred to as Ripple Agent-3 was born in 1984, is a resident of

California, served as Ripple’s Executive Vice President of Business Development from

December 2014 to February 2017, and served as Ripple’s Senior Vice President of Business

Development from March 2017 to June 2018. To the extent Plaintiff’s use of the word “agent”

here and throughout the Complaint characterizes the relationship between Ripple Agent-3 and

Ripple, it is a legal conclusion to which no response is required.




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       25.      The allegations in paragraph 25 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple refers the Court to provisions of the

Securities Act, codified at 15 U.S.C. § 77a et seq., and its relevant implementing regulations, to

which Ripple’s transactions in XRP have never been subject.

       26.      Ripple denies that it has ever been an issuer of securities in connection with

distributions of XRP, and further states that the allegations in paragraph 26 are legal conclusions

to which no response is required, and are in any event denied as to Defendants.

       27.      The allegations in paragraph 27 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies that its transactions in XRP

have ever been subject to registration under Section 5 of the Securities Act.

       28.      The allegations in paragraph 28 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies that its transactions in XRP

have ever been subject to registration under the Securities Act.

       29.      The allegations in paragraph 29 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies that it has ever been an issuer of

securities in connection with distributions of XRP and Ripple denies that its transactions in XRP

have ever been subject to registration under the Securities Act.

       30.      The allegations in paragraph 30 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies that it has ever been an issuer of

securities in connection with distributions of XRP and Ripple denies that its transactions in XRP

have ever been subject to registration under the Securities Act, or to the requirements under the

Exchange Act.




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       31.     The allegations in paragraph 31 contain legal conclusions to which no response is

required. Ripple respectfully refers the Court to the case SEC v. W.J. Howey Co., 328 U.S. 293

(1946), for its true and accurate contents.

       32.     Ripple denies the allegations in paragraph 32, except admits that the term “digital

asset” can refer to an asset transferred using distributed ledger or blockchain technology,

including assets sometimes referred to as “cryptocurrencies” and “virtual currencies.”

       33.     Ripple denies the allegations in paragraph 33, except admits that a blockchain or

distributed ledger is a decentralized peer-to-peer database spread across a network of computers

that publicly and permanently records all transactions in theoretically unchangeable, digitally

recorded data packages and relies on cryptographic techniques to securely record transactions.

       34.     Ripple denies the allegations in paragraph 34, except admits that blockchains

typically use a mechanism to validate transactions, which, among other things, aims to achieve

agreement among all participants on the contents of the ledger.

       35.     Ripple denies the allegations in paragraph 35, except admits that digital assets

may be traded on certain trading platforms in exchange for other digital assets or fiat currency

(generally understood to be a specific type of currency that is legal tender issued by a country), at

times by being allocated to the platform’s customer’s accounts in the platform’s internal records

(sometimes referred to as an “off-chain” transaction) without necessarily being transferred from

one blockchain address to another (which is sometimes referred to as an “on-chain” transaction).

       36.     Ripple denies the allegations in paragraph 36, except admits that some digital

assets are “native” to a particular blockchain. Digital assets that are native to their blockchains

may serve a number of technical functions on a distributed ledger, such as helping secure the

ledger from manipulation or other forms of attack. Like some other digital assets, a digital asset




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that is native to its own blockchain may in some cases be sold or traded as consideration for

goods, services, other digital assets, and fiat currency for a variety of purposes.

          37.   Ripple denies the allegations in paragraph 37. To the extent paragraph 37

purports to quote, characterize, or summarize a report by the SEC, the document speaks for

itself, and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

          38.   Ripple admits that, by early 2012, Co-Founder began working on the idea and

code for what would become the XRP Ledger Protocol, and that in 2012, Cryptographer-1 and

Ripple Agent-1 contributed to that code. Ripple otherwise lacks sufficient knowledge to either

admit or deny the allegations in paragraph 38 as to Co-Founder, and the allegations are otherwise

denied.

          39.   Ripple admits that the XRP Ledger records transactions and is powered by a

decentralized network of peer-to-peer servers that is not controlled or owned by any one party,

including Ripple, and otherwise denies the allegations in paragraph 39.

          40.   Ripple admits that the XRP Ledger uses a consensus protocol. Ripple further

admits that during consensus each server evaluates proposals from a specific set of trusted

validators, or Unique Node List (“UNL”); anyone can run a node or validator; and users are free

to use any UNL they prefer. Ripple further admits that Ripple publishes a UNL that validators

may choose to adopt, but they are not required to do so. Ripple otherwise denies the remaining

allegations in paragraph 40.

          41.   Ripple admits that Ripple operates a small number of validators. Ripple lacks

sufficient information to either admit or deny the remaining allegations in paragraph 41 as to

other organizations or entities, and the allegations are otherwise denied.




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        42.        Ripple denies the allegations in paragraph 42.

        43.        Ripple admits that Mr. Larsen was Ripple’s CEO from October 2013 through

December 2016, in which role he participated in calls and e-mail communications with Ripple’s

Board of Directors and then-current and prospective Ripple shareholders, and denies the

remaining allegations in paragraph 43.

        44.        Ripple denies the allegations in paragraph 44, except admits that Ripple’s

predecessor, NewCoin, Inc., was founded in September 2012.

        45.        Ripple denies the allegations in paragraph 45.

        46.        Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 46 as to Co-Founder, Mr. Larsen, and Ripple Agent-1, except admits, upon

information and belief, that 20 billion XRP in total was retained by Mr. Larsen, Co-Founder, and

Ripple Agent-1 and never transferred to Ripple. Ripple otherwise denies the allegations in

paragraph 46, except Ripple admits that 80 billion XRP was transferred to the company in 2012.

        47.        Ripple denies the allegations in paragraph 47. To the extent paragraph 47

purports to quote, characterize, or summarize a tweet sent on September 16, 2020 by an account

paragraph 47 attributes to Cryptographer-1, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        48.        Ripple denies the allegations in paragraph 48, except admits that XRP is the

native digital asset on the XRP Ledger.

        49.        Ripple admits that the digital asset currently known as XRP had been referred to

by other names in the past, including “Ripple Credits.” Ripple lacks sufficient information to




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either admit or deny the allegations in paragraph 49 as to Mr. Larsen or unnamed “participants in

the digital asset space,” and otherwise denies the allegations.

       50.     Ripple denies the allegations in paragraph 50.

       51.     Ripple denies the allegations in paragraph 51. To the extent paragraph 51

purports to quote, characterize, or summarize a legal memorandum dated February 8, 2012 from

a law firm that was addressed to Co-Founder and another individual, and to the extent paragraph

51 purports to quote, characterize, or summarize a second legal memorandum dated October 19,

2012 from the same law firm that was addressed to Mr. Larsen, Co-Founder, and OpenCoin, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents. Ripple avers that the legal

memoranda provided advice on a multitude of legal issues, under both federal and state law,

potentially relevant to a company in a nascent industry, including, but not limited to, banking and

money transmission laws, securities laws, commodities laws, gambling laws, consumer

protection laws, copyright laws, criminal laws and tax laws.

       52.     Ripple denies the allegations in paragraph 52. To the extent paragraph 52

purports to quote, characterize, or summarize a legal memorandum dated February 8, 2012 from

a law firm that was addressed to Co-Founder and another individual, and to the extent paragraph

52 purports to quote, characterize, or summarize a second legal memorandum dated October 19,

2012 from the same law firm that was addressed to Mr. Larsen, Co-Founder, and OpenCoin, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       53.     Ripple denies the allegations in paragraph 53, which selectively quote and

mischaracterize portions of a legal memorandum dated February 8, 2012 from a law firm that




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was addressed to Co-Founder and another individual, and a second legal memorandum dated

October 19, 2012 from the same law firm that was addressed to Mr. Larsen, Co-Founder, and

OpenCoin. Ripple avers that any reasonable reader of the true and accurate contents of the

memorandum dated October 19, 2012 would understand that counsel’s ultimate conclusion was

that Ripple Credits (as described) did not constitute “securities” under the federal securities laws.

The documents speak for themselves, and Ripple respectfully refers the Court to the full text of

the documents for an accurate and complete record of their contents.

       54.     Ripple denies the allegations in paragraph 54, which selectively quote and

mischaracterize portions of a legal memorandum dated February 8, 2012 from a law firm that

was addressed to Co-Founder and another individual, and a second legal memorandum dated

October 19, 2012 from the same law firm that was addressed to Mr. Larsen, Co-Founder, and

OpenCoin. Ripple avers that those memoranda only purported to compare XRP to fiat currency

backed by the full faith and credit of national governments, and that Paragraph 54 ignores that

XRP has since been determined by DOJ and FinCEN to be a “convertible virtual currency”

which can serve as a substitute to fiat currency. The documents speak for themselves, and

Ripple respectfully refers the Court to the full text of the documents for an accurate and complete

record of their contents.

       55.     Ripple denies the allegations in paragraph 55, which mischaracterize a legal

memorandum dated October 19, 2012 from a law firm that was addressed to Mr. Larsen, Co-

Founder, and OpenCoin. The document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents. Ripple

also incorporates by reference its response to Paragraph 53.




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       56.     Ripple denies the allegations in paragraph 56, except admits that Mr. Larsen did

obtain copies of the February 8, 2012 and October 19, 2012 memoranda. Ripple also

incorporates by reference its response to Paragraph 53.

       57.     Ripple denies the allegations in paragraph 57. To the extent paragraph 57

purports to quote, characterize, or summarize an email from Mr. Larsen dated May 26, 2014, the

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       58.     Paragraph 58 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       59.     Paragraph 59 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple also incorporates by reference its response to Paragraph 53.

       60.     Paragraph 60 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits it did not file a registration statement for XRP with the SEC because none was

required.

       61.     The allegations in paragraph 61 contain legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Ripple made certain payments in XRP as a virtual currency substituting for fiat currency

through a bug bounty program in 2013 and 2014.

       62.     Ripple denies the allegations in paragraph 62.

       63.     Ripple denies the allegations in paragraph 63. To the extent paragraph 63

purports to quote, characterize, or summarize a document dated May 2013 titled “Gateways,” the




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document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

        64.        Ripple denies the allegations in paragraph 64. To the extent paragraph 64

purports to quote, characterize, or summarize a forum post dated May 12, 2013 made by the

account paragraph 64 attributes to Cryptographer-1 on the Altcoin Discussion page of the

Bitcoin Forum of the website bitcointalk.org, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        65.        Ripple denies the allegations in paragraph 65. To the extent paragraph 65

purports to quote, characterize, or summarize a PowerPoint presentation with the filename “XRP

Distribution Framework.pptx,” the document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents. Ripple

specifically denies that this single document provides a complete and accurate statement of

Ripple’s views or goals for XRP as of 2013 or any other point in time.

        66.        Ripple denies the allegations in paragraph 66. To the extent the second sentence

of paragraph 66 purports to quote, characterize, or summarize a forum post dated May 12, 2013

made by the account paragraph 66 attributes to Cryptographer-1 on the Altcoin Discussion page

of the Bitcoin Forum of the website bitcointalk.org, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        67.        Ripple denies the allegations in paragraph 67, except admits that Ripple has

worked to develop products that utilize XRP to allow financial institutions to effect currency

transfers. To the extent paragraph 67 purports to quote, characterize, or summarize a document




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dated February 2016 titled “The Cost-Cutting Case for Banks: The ROI of Using Ripple and

XRP for Global Interbank Settlements,” which referred to XRP in part as a “universal bridge

asset,” the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

       68.     Ripple denies the allegations in paragraph 68.

       69.     Paragraph 69 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       70.     Ripple denies the allegations in paragraph 70.

       71.     Paragraph 71 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       72.     The allegations in paragraph 72 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Ripple sold XRP, a virtual currency, in exchange for fiat or other currencies. For those

sales, Ripple did not file a registration statement for XRP with the SEC because none was

required.

       73.     Ripple denies the allegations in paragraph 73, except admits that Ripple sold

XRP, a virtual currency, on the open market and to sophisticated entities while Mr. Larsen was

CEO. Ripple further denies the accuracy of Plaintiff’s defined terms; for example, the defined

term “Offering” does not accurately describe Ripple’s numerous different types of distributions

of XRP over many years.

       74.     Paragraph 74 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Mr. Garlinghouse was Ripple’s COO from April 2015 through December




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2016, that Mr. Garlinghouse has been Ripple’s CEO from January 2017 to the present, and that

Mr. Larsen has been the Executive Chairman of Ripple’s Board of Directors from in or about

January 2017 to the present. Ripple further denies that the defined term “Offering” accurately

describes Ripple’s numerous different types of distributions of XRP over many years.

       75.     Paragraph 75 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that during the periods in which each of Mr. Garlinghouse and Mr. Larsen served

in the role of CEO, respectively, each of them communicated with Ripple’s Board of Directors

and then-current and prospective Ripple equity shareholders. Ripple further admits that Ripple

sold XRP, a virtual currency, in exchange for fiat or other currencies. For those sales, Ripple did

not file a registration statement for XRP with the SEC because none was required. Ripple

further denies that the defined term “Offering” accurately describes Ripple’s numerous different

types of distributions of XRP over many years.

       76.     Ripple denies the allegations in paragraph 76, and specifically denies that Ripple

accelerated its sales of XRP in 2017 and 2018, except admits that Ripple sold XRP, a virtual

currency, in exchange for fiat or other currencies during that time.

       77.     Ripple denies the allegations in paragraph 77, except admits that Ripple has sold

software products under the names “xCurrent” and “xVia” from 2017 and 2018, respectively,

and Ripple raised capital through the sale of equity securities via a Series A funding round of

approximately $32 million that closed in September 2015, a Series B funding round of

approximately $55 million that closed in August 2016, and a Series C funding round of

approximately $200 million that closed in December 2019.




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          78.   Paragraph 78 consists of characterizations and legal conclusions to which no

response is required, and which are in any event denied.

          79.   Paragraph 79 employs an ambiguous defined term (“Market Sales”) to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Ripple sold XRP, a virtual currency, on the open market in exchange for fiat

or other currencies.

          80.   Paragraph 80 employs ambiguous defined terms (“Institutional Sales” and

“Market Sales”) to which no response is required. To the extent any response is necessary,

Ripple denies the allegations, except admits that Ripple sold XRP, a virtual currency, on the

open market and to sophisticated entities in exchange for fiat or other currencies.

          81.   Ripple denies the allegations in paragraph 81, and denies that the defined term

“Offering” accurately describes Ripple’s numerous different types of distributions of XRP over

many years. To the extent that paragraph 81 refers to publicly available data regarding the price

of XRP as set by trading in the open market over time, that publicly available data speaks for

itself.

          82.   Paragraph 82 employs an ambiguous, defined term (“Other XRP Distributions”)

to which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple sold XRP in exchange for fiat or other currencies and that

Ripple made certain payments in XRP as a virtual currency substituting for fiat currency in

connection with its operations.

          83.   Paragraph 83 employs an ambiguous, defined term (“Other XRP Distributions”)

to which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple has sold XRP in exchange for fiat or other currencies and




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has made certain payments in XRP as a virtual currency substituting for fiat currency in

connection with its operations, and Ripple lacks sufficient information to either admit or deny

the allegations as to any sales by Mr. Garlinghouse and Mr. Larsen.

       84.     Ripple denies the allegations in paragraph 84, and denies that the defined term

“Offering” accurately describes Ripple’s numerous different types of distributions of XRP over

many years. Ripple lacks sufficient information to either admit or deny the allegations set forth

in paragraph 84 as to Mr. Garlinghouse and Mr. Larsen, and the allegations are otherwise denied.

       85.     Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 85 as to Mr. Larsen, and the allegations are otherwise denied, except Ripple admits

that Mr. Larsen was Ripple’s CEO from October 2013 through December 2016 and has been the

Executive Chairman of Ripple’s Board of Directors from in or about January 2017 to the present.

       86.     Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 86 as to Mr. Garlinghouse, and the allegations are otherwise denied, except Ripple

admits that Mr. Garlinghouse has been Ripple’s CEO from January 2017 to the present.

       87.     Paragraph 87 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient information

to either admit or deny allegations relating to sales by Mr. Garlinghouse and Mr. Larsen, and the

allegations are otherwise denied. Ripple furthermore specifically denies the inaccurate

suggestion that the only use or uses for XRP came through Ripple’s operations or activities.

       88.     Paragraph 88 consists of characterizations, ambiguous defined terms, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations, except lacks sufficient information to either admit or deny the allegations

as to what Mr. Garlinghouse and Mr. Larsen “understood” at unspecified points in time.




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       89.      Paragraph 89 consists of ambiguous defined terms to which no response is

required. To the extent any response is necessary, Ripple lacks sufficient knowledge to confirm

or deny the accuracy of Plaintiff’s internal calculations or compilations of data, and the

allegations are therefore denied. Ripple further denies that the defined term “Offering”

accurately describes Ripple’s numerous different types of distributions of XRP over many years.

       90.      Paragraph 90 employs an ambiguous, defined term (“Market Sales”) to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Mr. Larsen was Ripple’s CEO from October 2013 through December 2016.

       91.      Paragraph 91 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple sold XRP in exchange for fiat or other currencies, in part

through third-party companies, commonly known as market makers, whose business model

involved both buying and selling XRP on-ledger and on exchanges through blind bid/ask

transactions.

       92.      Paragraph 92 consists of characterizations, an ambiguous defined term (“Market

Sales”) and other ambiguous terms (such as “specialized traders”) to which no response is

required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Ripple sold XRP in exchange for fiat or other currencies, in part through third-party

companies, commonly known as market makers, whose business model involved both buying

and selling XRP on exchanges through blind bid/ask transactions, and further admits that Ripple

did not file a registration statement with the SEC for those transactions because none was

required.




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       93.     Paragraph 93 consists of characterizations and an ambiguous defined term

(“Market Sales”) to which no response is required. To the extent any response is necessary,

Ripple denies the allegations, except admits that Ripple sold XRP in exchange for fiat or other

currencies, in part through third-party companies, commonly known as market makers, whose

business model involved both buying and selling XRP on exchanges through blind bid/ask

transactions, and that Ripple made certain payments in XRP as a virtual currency substituting for

fiat currency in connection with such sales.

       94.     Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 94 as to other entities, and the allegations are otherwise denied.

       95.     Paragraph 95 consists of characterizations, ambiguous defined terms, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations. To the extent paragraph 95 purports to quote, characterize, or summarize

a webpage titled “How to Buy XRP,” the contents of which have changed over time and have, in

the past, included a list of third-party digital asset exchanges that listed XRP, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents. Ripple further denies that the defined term

“Offering” accurately describes Ripple’s numerous different types of distributions of XRP over

many years.

       96.     Paragraph 96 employs an ambiguous defined term (“Market Sales”) to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Mr. Larsen was Ripple’s CEO from October 2013 through December 2016

and that Mr. Garlinghouse has been Ripple’s CEO from January 2017 to the present.




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       97.     Paragraph 97 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple lacks sufficient

knowledge to admit or deny the allegations in paragraph 97 that contain insufficient citation or

attribution and describe the behavior of unspecified other entities, and the allegations are

otherwise denied. Ripple furthermore avers that Ripple’s sales of XRP consistently constituted a

very small portion of XRP trading volume.

       98.     Paragraph 98 employs an ambiguous defined term (“Market Sales”) to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 98 that contain insufficient citation or attribution,

and the allegations are otherwise denied.

       99.     Paragraph 99 consists of characterizations, an ambiguous defined term, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations.

       100.    Paragraph 100 consists of characterizations, an ambiguous defined term, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations. To the extent paragraph 100 purports to quote, characterize, or

summarize a report titled “Q4 2016 XRP Markets Report” dated January 24, 2017 that was

posted on Ripple’s website, the document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents.

       101.    Paragraph 101 consists of characterizations, ambiguous terms, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

lacks sufficient information to either admit or deny the allegations as to “influential players[,…]

XRP market makers, dealers, and blockchain-focused private investment funds,” and the




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allegations are otherwise denied, except Ripple admits that Ripple sold XRP in exchange for fiat

or other currencies, in part to certain third-party companies.

       102.    Paragraph 102 consists of an ambiguous defined term to which no response is

required. To the extent any response is necessary, Ripple denies the allegations in paragraph

102, except admits that Ripple sold XRP in exchange for fiat or other currencies and avers that in

June 2016, the New York State Department of Financial Services granted XRP II a BitLicense to

conduct certain virtual currency business activities, which is consistent with U.S. authorities,

both state and federal, recognizing that XRP is a virtual currency. To the extent paragraph 102

purports to quote, characterize, or summarize a document titled “Information Regarding XRP II,

LLC’s History and Business,” the document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents.

       103.    Paragraph 103 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple sold XRP to sophisticated entities in exchange for fiat or

other currencies.

       104.    Paragraph 104 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple sold XRP to sophisticated entities in exchange for fiat or

other currencies. Ripple further admits that certain sales of XRP by Ripple were made at

discounted prices.

       105.    Paragraph 105 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple lacks sufficient

knowledge to admit or deny the allegations in paragraph 105 that contain insufficient citation or




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attribution, and the allegations are otherwise denied, except Ripple avers that certain sales of

XRP by Ripple to counterparties included restrictions on the buyer’s ability to resell XRP.

        106.       Paragraph 106 consists of characterizations, an ambiguous defined term, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations. Ripple specifically denies that its sales of XRP were intended to, or did,

incentivize buyers to realize a “guaranteed profit,” and further denies that its sales of XRP could

have provided a “guaranteed profit,” given that Ripple could not control movements in the

market price of XRP following its sales.

        107.       Paragraph 107 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations.

        108.       Ripple denies the allegations in paragraph 108. To the extent paragraph 108

purports to quote, characterize, or summarize an email dated June 12, 2017 regarding the entity

identified in the Complaint as Institutional Investor A, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        109.       Ripple denies the allegations in paragraph 109, except admits that receipts of

purchases by the entity identified in the Complaint as Institutional Investor A reflect a combined

transaction value of $2.1 million and a combined 14.8 million XRP units. To the extent

paragraph 109 purports to quote, characterize, or summarize a September 18, 2017 letter

confirming an agreement between XRP II, LLC and the entity identified in the Complaint as

Institutional Investor A, the document speaks for itself, and Ripple respectfully refers the Court

to the full text of the document for an accurate and complete record of its contents.




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        110.       Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 110 as to the entity identified in the Complaint as Institutional Investor B. Ripple

further lacks sufficient knowledge to confirm or deny the accuracy of Plaintiff’s internal

calculations or compilations of data. The allegations in paragraph 110 are otherwise denied. To

the extent paragraph 110 purports to quote, characterize, or summarize the website of the entity

identified in the Complaint as Institutional Investor B, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        111.       Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 111 as to the entity identified in the Complaint as Institutional Investor B, and the

allegations in paragraph 111 are otherwise denied. To the extent paragraph 111 references a

document titled “Master XRP Purchase Agreement” between XRP II, LLC and the entity

identified in the Complaint as Institutional Investor B signed by XRP II, LLC on August 2, 2017,

the document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

        112.       Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 112 as to the entity identified in the Complaint as Institutional Investor C, and the

allegations are otherwise denied. To the extent paragraph 112 purports to quote, characterize, or

summarize a document signed by Mr. Garlinghouse on behalf of Ripple with the entity identified

in the Complaint as Institutional Investor C titled “Master XRP Purchase Agreement” with an

effective date of September 24, 2018, and to the extent paragraph 112 purports to quote,

characterize, or summarize the website of the entity identified in the Complaint as Institutional




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Investor C, the documents speak for themselves, and Ripple respectfully refers the Court to the

full text of the documents for an accurate and complete record of their contents.

          113.   Ripple denies the allegations in paragraph 113. To the extent paragraph 113

purports to quote, characterize, or summarize Appendix D to a document titled “Master XRP

Purchase Agreement” between Ripple and the entity identified in the Complaint as Institutional

Investor C with an effective date of September 24, 2018, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

          114.   Ripple denies the allegations in paragraph 114. To the extent paragraph 114

purports to quote, characterize, or summarize Appendix D to a document titled “Master XRP

Purchase Agreement” between Ripple and the entity identified in the Complaint as Institutional

Investor C with an effective date of September 24, 2018, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

          115.   Ripple lacks sufficient knowledge to confirm or deny the accuracy of Plaintiff’s

internal calculations or compilations of data, and the allegations in paragraph 115 are therefore

denied.

          116.   Paragraph 116 consists of characterizations, ambiguous defined terms, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

lacks sufficient knowledge to confirm or deny the accuracy of Plaintiff’s internal calculations or

compilations of data, and the allegations are therefore denied. Ripple further denies that the

defined term “Offering” accurately describes Ripple’s numerous different types of distributions

of XRP over many years.




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       117.     Ripple denies the allegations in paragraph 117, except admits that Ripple has

made certain payments in XRP as a virtual currency substituting for fiat currency in connection

with its operations.

       118.     Paragraph 118 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations.

       119.     Ripple denies the allegations in paragraph 119, except admits that Ripple made

certain payments in XRP as a virtual currency substituting for fiat currency as part of executive

compensation.

       120.     Ripple denies the allegations in paragraph 120, except admits that Ripple made

certain payments in XRP as a virtual currency substituting for fiat currency as part of executive

compensation. To the extent paragraph 120 purports to quote, characterize, or summarize a

document titled “Notice of XRP Unit Bonus Award” that reflected a grant to Ripple Agent-3 of

150 million XRP under the terms of the agreement subject to certain vesting conditions, and to

the extent paragraph 120 purports to quote, characterize, or summarize a document titled “Notice

of XRP Unit Bonus Award” that reflected a grant to Mr. Garlinghouse of 500 million XRP under

the terms of the agreement subject to certain vesting conditions, the documents speak for

themselves, and Ripple respectfully refers the Court to the full text of the documents for an

accurate and complete record of their contents.

       121.     Ripple denies the allegations in paragraph 121, except admits that Ripple made

certain payments in XRP as a virtual currency substituting for fiat currency as part of executive

compensation. To the extent paragraph 121 purports to quote, characterize, or summarize a

document titled “Notice of XRP Ledger Address Award” that reflected a grant to Mr.




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Garlinghouse of 250 million XRP under the terms of the agreement subject to certain vesting

conditions, the document speaks for itself, and Ripple respectfully refers the Court to the full text

of the document for an accurate and complete record of its contents.

       122.    Paragraph 122 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except Ripple incorporates by reference its responses to paragraphs 119 to 121.

       123.    Ripple denies the allegations in paragraph 123, except admits that Ripple has

developed and partnered with various businesses to implement On-Demand Liquidity (“ODL”)

to effect cross-border payments, and that Ripple started beta testing ODL with customers as early

as September 2017. Ripple further admits that it has made certain payments in XRP as a virtual

currency substituting for fiat currency in connection with ODL, including to ODL customers and

market makers in accordance with standard market practices in connection with new products

and markets.

       124.    The allegations in paragraph 124 contain ambiguous terms (such as “these

entities”) and legal conclusions to which no response is required. To the extent any response is

necessary, Ripple lacks sufficient knowledge to admit or deny the allegations in paragraph 124

that contain insufficient citation or attribution, and the allegations are otherwise denied, except

Ripple admits that Ripple has made certain payments in XRP as a virtual currency substituting

for fiat currency in connection with ODL, including to ODL customers and market makers in

accordance with standard market practices in connection with new products and markets.

       125.    Ripple denies the allegations in the first sentence of paragraph 125, except admits

that Ripple has made certain payments in XRP as a virtual currency substituting for fiat currency

in connection with ODL, including to ODL customers and market makers in accordance with




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standard market practices. Ripple avers that certain Ripple transactions relating to ODL have

contained terms regarding fees, rebates, and incentives, which is consistent with standard market

practices in connection with new products and markets. Ripple denies the allegations in the

second sentence of paragraph 125.

       126.    Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 126 as to other entities, and the allegations are otherwise denied.

       127.    Paragraph 127 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Ripple has made certain payments in XRP as a virtual currency substituting

for fiat currency in connection with ODL, including to ODL customers and market makers in

accordance with standard market practices in connection with new products and markets.

       128.    Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 128 as to Mr. Larsen, and the allegations are otherwise denied, except Ripple admits

that Mr. Larsen is a co-founder of RippleWorks, a 501(c)(3) entity with a mission to help social

ventures to scale, and that Ripple has donated two billion XRP to RippleWorks in support of its

charitable activities. Ripple denies the allegations in footnote 2 of paragraph 128. To the extent

footnote 2 purports to quote, characterize, or summarize a tweet sent by the @chrislarsensf

account on November 21, 2019, the document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents.

       129.    Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 129 as to Mr. Larsen, and the allegations are otherwise denied, except Ripple admits

that Mr. Larsen is a co-founder of RippleWorks, a 501(c)(3) entity with a mission to help social

ventures to scale, and that Ripple has made two donations of XRP to RippleWorks. To the




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extent paragraph 129 purports to quote, characterize, or summarize a company document dated

December 10, 2015, the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents.

       130.    Paragraph 130 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       131.    Paragraph 131 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to confirm or deny the accuracy of Plaintiff’s internal calculations or compilations of data, and

the allegations are therefore denied, except Ripple admits that Ripple has made two donations of

XRP to RippleWorks.

       132.    Ripple denies the allegations in paragraph 132. To the extent paragraph 132

purports to quote, characterize, or summarize an email dated November 11, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       133.    Paragraph 133 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits, upon

information and belief, that RippleWorks invested in the fund referenced in paragraph 133, and

that Ripple made a loan of XRP to that fund.

       134.    Ripple denies the allegations in paragraph 134. To the extent paragraph 134

purports to quote, characterize, or summarize an email dated August 27, 2017, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.




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       135.       Ripple denies the allegations in paragraph 135. To the extent paragraph 135

purports to quote, characterize, or summarize an email dated October 2, 2017, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       136.       Ripple denies the allegations in paragraph 136. To the extent paragraph 136

purports to quote, characterize, or summarize an email dated November 1, 2017, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       137.       Ripple denies the allegations in paragraph 137. To the extent the first sentence of

paragraph 137 purports to quote, characterize, or summarize an email dated November 11, 2017,

and to the extent the second sentence of paragraph 137 purports to quote, characterize, or

summarize an email dated November 12, 2017, the documents speak for themselves, and Ripple

respectfully refers the Court to the text of the documents for an accurate and complete record of

their contents.

       138.       Ripple denies the allegations in paragraph 138, except Ripple admits that Xpring

was a Ripple initiative to partner with companies and support development of new applications

of XRP and the XRP ledger, and that Ripple distributed at least 776 million XRP in connection

with certain projects of this initiative. To the extent paragraph 138 purports to quote,

characterize, or summarize an email dated May 22, 2018, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       139.       Paragraph 139 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,




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except admits that Ripple has distributed XRP in connection with certain projects of the Xpring

initiative.

        140.   Ripple denies the allegations in paragraph 140, except admits that Ripple

distributed at least 364 million XRP to the entity identified in paragraph 140 pursuant to an

agreement. To the extent paragraph 140 purports to quote, characterize, or summarize a

document dated November 1, 2018, titled “Services and Marketing Agreement,” the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

        141.   Paragraph 141 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits that Ripple

distributed at least 163 million XRP to the entity identified in paragraph 141 pursuant to an

agreement. To the extent paragraph 141 purports to quote, characterize, or summarize a

document titled “Development and Integration Agreement,” with an effective date of November

8, 2018, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

        142.   Paragraph 142 consists of characterizations and an ambiguous defined term to

which no response is required. To the extent any response is necessary, Ripple lacks sufficient

knowledge to confirm or deny the accuracy of Plaintiff’s internal calculations or compilations of

data, and the allegations are therefore denied.

        143.   Ripple denies the allegations in paragraph 143, except admits that Ripple

distributed at least 588 million XRP to the entity identified as Option Investor A pursuant to a

grant. To the extent paragraph 143 purports to quote, characterize, or summarize a document

regarding the entity identified in the Complaint as Option Investor A titled “Amended and




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Restated Notice of Option Grant” with a grant date of January 1, 2014, the document speaks for

itself, and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

       144.    Ripple denies the allegations in paragraph 144, except admits that Ripple

distributed XRP to the entity identified as Option Investor B. To the extent paragraph 144

purports to quote, characterize, or summarize a document regarding the entity identified in the

Complaint as Option Investor B titled “Option to Purchase XRP” with an issuance date of

September 14, 2016,” the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents. Ripple denies

the allegations in footnote 3 of paragraph 144. To the extent footnote 3 purports to quote,

characterize, or summarize an email dated February 26, 2017, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       145.    Paragraph 145 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient information

to either admit or deny the allegations in paragraph 145 as to digital asset trading platforms, and

the allegations are otherwise denied, except Ripple admits that of the more than 200 digital asset

trading platforms, commonly known as exchanges, that listed XRP prior to the filing of the

Complaint, Ripple made certain payments in XRP as a virtual currency substituting for fiat

currency to only a handful of those exchanges. Ripple avers that the few agreements Ripple

entered into with digital asset trading platforms were discrete, limited in duration, and involved a

relatively small dollar value of incentives that were consistent with standard market practices in

connection with new products and markets.




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       146.    Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 146 regarding the digital asset trading platform referenced in paragraph 146, and the

allegations are otherwise denied. To the extent paragraph 146 purports to quote, characterize, or

summarize a document regarding the digital asset trading platform identified in paragraph 146

titled “XRP Listing, Volume Incentive and Rebate Agreement” with an effective date of May 17,

2017, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

       147.    Paragraph 147 consists of an ambiguous term (“these platforms”) to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to confirm or deny the accuracy of Plaintiff’s internal calculations or compilations of data, and

the allegations are therefore denied, except Ripple admits that Ripple made certain payments in

XRP as a virtual currency substituting for fiat currency to only a handful of digital asset trading

platforms, commonly known as exchanges.

       148.    The allegations in paragraph 148 contain characterizations and legal conclusions

to which no response is required. To the extent any response is necessary, Ripple denies the

allegations in paragraph 148, which mischaracterize an email dated June 21, 2017. The

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       149.    Paragraph 149 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 149

purports to quote, characterize, or summarize an email dated July 27, 2017, the document speaks

for itself, and Ripple respectfully refers the Court to the full text of the document for an accurate

and complete record of its contents.




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          150.   The allegations in paragraph 150 consist of characterizations, ambiguous defined

terms, and legal conclusions to which no response is required. To the extent any response is

necessary, Ripple lacks sufficient knowledge to confirm or deny the accuracy of Plaintiff’s

internal calculations or compilations of data, and the allegations are therefore denied. Ripple

further denies that the defined term “Offering” accurately describes Ripple’s numerous different

types of distributions of XRP over many years.

          151.   The allegations in paragraph 151 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Mr. Larsen was Ripple’s CEO from October 2013 through December 2016 and has been the

Executive Chairman of Ripple’s Board of Directors from in or about January 2017 to the present.

          152.   Ripple denies the allegations in paragraph 152, except admits that while Mr.

Larsen was CEO, he was authorized to appoint Directors on Ripple’s Board. Ripple denies that

Mr. Larsen had 68% of Ripple’s voting power during that time.

          153.   The first sentence of paragraph 153 consists of characterizations to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple lacks sufficient knowledge to admit or deny the allegations in the second sentence of

paragraph 153 that contain insufficient citation or attribution, and the allegations are otherwise

denied.

          154.   Ripple admits, upon information and belief, that Mr. Larsen has sold some XRP,

but otherwise lacks sufficient information to either admit or deny the allegations in paragraph

154 as to Mr. Larsen’s sales of XRP, and they are therefore denied.




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        155.    Ripple admits, upon information and belief, that Mr. Larsen has sold some XRP,

but otherwise lacks sufficient information to either admit or deny the allegations in paragraph

155 as to Mr. Larsen’s or his wife’s sales of XRP, and they are therefore denied.

        156.    Ripple admits, upon information and belief, that Mr. Larsen has sold some XRP,

but otherwise lacks sufficient information to either admit or deny the allegations in paragraph

156 as to Mr. Larsen’s sales of XRP, and they are therefore denied.

        157.    Paragraph 157 consists of characterizations and predictions about future behavior

to which no response is required. To the extent any response is necessary, Ripple admits, upon

information and belief, that Mr. Larsen has sold some XRP, but otherwise lacks sufficient

information to either admit or deny the allegations as to Mr. Larsen’s sales of XRP, and the

allegations are otherwise denied. To the extent the second sentence of paragraph 157 purports to

quote, characterize, or summarize an email sent by Mr. Larsen on June 30, 2019, and the third

sentence of paragraph 157 purports to quote, characterize, or summarize a tweet sent by the

@chrislarsensf account on September 22, 2020, the documents speak for themselves, and Ripple

respectfully refers the Court to the full text of the documents for an accurate and complete record

of their contents.

        158.    The allegations in paragraph 158 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Mr. Garlinghouse was Ripple’s COO from April 2015 through December 2016, and that Mr.

Garlinghouse has been Ripple’s CEO from January 2017 to the present.

        159.    Ripple admits, upon information and belief, that Mr. Garlinghouse has sold some

XRP, but otherwise lacks sufficient information to either admit or deny the allegations in

paragraph 159 as to Mr. Garlinghouse’s sales of XRP, and they are therefore denied. Ripple




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further admits that Ripple made certain payments in XRP as a virtual currency substituting for

fiat currency as part of executive compensation.

       160.    Paragraph 160 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       161.    Ripple admits, upon information and belief, that Mr. Garlinghouse has sold some

XRP, but otherwise lacks sufficient information to either admit or deny the allegations in

paragraph 161 as to Mr. Garlinghouse’s sales of XRP, and they are therefore denied.

       162.    Ripple admits, upon information and belief, that Mr. Garlinghouse has sold some

XRP, but otherwise lacks sufficient information to either admit or deny the allegations in

paragraph 162 as to Mr. Garlinghouse’s sales of XRP, and they are therefore denied.

       163.    Paragraph 163 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple admits, upon information

and belief, that Mr. Garlinghouse has sold some XRP, but otherwise lacks sufficient information

to either admit or deny the allegations in paragraph 163 as to Mr. Garlinghouse’s sales of XRP,

and they are therefore denied.

       164.    Ripple admits, upon information and belief, that Mr. Garlinghouse has sold some

XRP, but otherwise lacks sufficient information to either admit or deny the allegations in

paragraph 164 as to Mr. Garlinghouse’s sales of XRP, and they are therefore denied.

       165.    Paragraph 165 consists of characterizations and predictions about future behavior

to which no response is required. To the extent any response is necessary, Ripple admits, upon

information and belief, that Mr. Garlinghouse has sold some XRP, but otherwise lacks sufficient

information to either admit or deny the allegations in paragraph 165 as to Mr. Garlinghouse’s

sales of XRP, and they are therefore denied.




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       166.    Paragraph 166 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits, upon information and belief, that Mr. Garlinghouse and Mr. Larsen have sold

some XRP. Ripple further denies that the defined term “Offering” accurately describes Ripple’s

numerous different types of distributions of XRP over many years.

       167.    The allegations in paragraph 167 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations, except admits

that on May 16, 2017, Ripple announced that it would place 55 billion XRP into an escrow on

the XRP Ledger, and thereafter implemented the escrow of that XRP.

       168.    The allegations in paragraph 168 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple lacks sufficient information to either

admit or deny the allegations in paragraph 168 as to unnamed and unspecified “investors,” and

the allegations are therefore denied.

       169.    Paragraph 169 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Ripple employees at times observed the trading price and volume of XRP.

Ripple further denies that the defined term “Offering” accurately describes Ripple’s numerous

different types of distributions of XRP over many years.

       170.    Paragraph 170 consists of an ambiguous defined term and legal conclusions to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple sold XRP in exchange for fiat or other currencies, in part

through third-party companies (predominantly foreign-based), commonly known as market

makers, whose business model involved both buying and selling XRP on exchanges through




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blind bid/ask transactions, and that Ripple made certain payments in XRP as a virtual currency

substituting for fiat currency to market makers and to a handful of digital asset trading platforms,

commonly known as exchanges. Ripple further admits that Ripple’s programmatic sales were

conducted through trading firms that, upon information or belief, sell XRP on various exchanges

using algorithms.

       171.    The allegations in paragraph 171 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Ripple sold XRP on the open market through market makers in exchange for fiat or other

currencies.

       172.    The allegations in paragraph 172 contain characterizations and legal conclusions

to which no response is required. To the extent any response is necessary, Ripple lacks sufficient

knowledge to admit or deny the allegations in paragraph 172 that contain insufficient citation or

attribution, and the allegations are otherwise denied. Ripple further denies that the defined term

“Offering” accurately describes Ripple’s numerous different types of distributions of XRP over

many years.

       173.    Ripple denies the allegations in paragraph 173. To the extent paragraph 173

purports to quote, characterize, or summarize an email dated September 20, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       174.    Ripple denies the allegations in paragraph 174, except admits that there was a

team within Ripple called the “XRP Markets Team,” that Ripple employees at times observed

the trading price and volume of XRP, that Ripple sold XRP on the open market in exchange for




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fiat or other currencies through market makers, and that Ripple’s sales of XRP were generally no

more than a fraction of a percent of daily XRP trading volume.

       175.    Ripple denies the allegations in paragraph 175, except admits that Mr. Larsen was

Ripple’s CEO from October 2013 through December 2016; that Mr. Garlinghouse has been

Ripple’s CEO from January 2017 to the present; and that during the period in which Mr.

Garlinghouse served in the role of CEO, he met with the XRP Markets Team.

       176.    Ripple denies the allegations in paragraph 176. To the extent paragraph 176

purports to quote, characterize, or summarize an email dated April 11, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       177.    Ripple denies the allegations in paragraph 177. To the extent paragraph 177

purports to quote, characterize, or summarize an email dated August 16, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       178.    Ripple denies the allegations in paragraph 178. To the extent paragraph 178

purports to quote, characterize, or summarize a series of emails dated August 16, 2016, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       179.    Paragraph 179 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 179

purports to quote, characterize, or summarize portions of an email dated August 16, 2016, the

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.




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       180.    Paragraph 180 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple lacks sufficient knowledge to admit or deny the

allegations in paragraph 180 that contain insufficient citation or attribution, and the allegations

are otherwise denied.

       181.    Ripple denies the allegations in paragraph 181. To the extent paragraph 181

purports to quote, characterize, or summarize an email dated September 20, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       182.    Ripple denies the allegations in paragraph 182. To the extent paragraph 182

purports to quote, characterize, or summarize an email dated September 21, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       183.    Ripple denies the allegations in paragraph 183. To the extent paragraph 183

purports to quote, characterize, or summarize an email dated September 23, 2016, the document

speaks for itself and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       184.    Ripple denies the allegations in paragraph 184. To the extent paragraph 184

purports to quote, characterize, or summarize an email dated September 26, 2016, the document

speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       185.    Ripple denies the allegations in paragraph 185. To the extent paragraph 185

purports to quote, characterize, or summarize an email dated October 15, 2016, the document




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speaks for itself, and Ripple respectfully refers the Court to the full text of the document for an

accurate and complete record of its contents.

       186.    Paragraph 186 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       187.    Ripple denies the allegations in paragraph 187. To the extent paragraph 187

purports to quote, characterize, or summarize a series of emails dated August 12, 2017, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       188.    Ripple denies the allegations in paragraph 188. To the extent paragraph 188

purports to quote, characterize, or summarize an email, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       189.    Ripple denies the allegations in paragraph 189.

       190.    Ripple denies the allegations in paragraph 190.

       191.    Ripple denies the allegations in the first sentence of paragraph 191. To the extent

paragraph 191 purports to quote, characterize, or summarize an undated document attached to a

January 4, 2017 email sent to the entity identified in the Complaint as Institutional Investor C,

the document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents. Ripple lacks sufficient knowledge

to admit or deny the allegations in the second sentence of paragraph 191 that contain insufficient

citation or attribution, and the allegations are otherwise denied.

       192.    Ripple denies the allegations in paragraph 192. To the extent paragraph 192

purports to quote, characterize, or summarize a report titled “Q4 2017 XRP Markets Report”




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dated January 24, 2018 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       193.    Ripple denies the allegations in paragraph 193. To the extent paragraph 193

purports to quote, characterize, or summarize an undated document that was sent by email on

June 23, 2020, the document speaks for itself, and Ripple respectfully refers the Court to the full

text of the document for its true form and contents.

       194.    Ripple denies the allegations in paragraph 194.

       195.    Ripple denies the allegations in paragraph 195, except admits that it purchased

approximately $45.55 million in XRP during the third quarter of 2020. To the extent paragraph

195 purports to quote, characterize, or summarize a report titled “Q3 2020 XRP Markets Report”

dated November 5, 2020 that was posted on Ripple’s website, the document speaks for itself and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       196.    The allegations in paragraph 196 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple lacks sufficient information to either

admit or deny the allegations in the first sentence of paragraph 196 as to unnamed and

unspecified “investors,” and the allegations are therefore denied. Ripple denies the allegations in

the second sentence of paragraph 196, which selectively quote, mischaracterize, and take out of

context an email dated May 16, 2017. The document speaks for itself, and Ripple respectfully

refers the Court to the full text of the document for an accurate and complete record of its

contents.




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       197.    The allegations in paragraph 197 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations, except admits

that Ripple did not file a registration statement for XRP with the SEC because none was

required.

       198.    Ripple denies the allegations in paragraph 198, except admits that on May 16,

2017, Ripple announced that it would place 55 billion XRP into an escrow on the XRP Ledger.

After implementation, each month, the XRP Ledger releases a total of one billion XRP to Ripple

to use – or not use – as it chooses. Ripple then returns unused XRP to the escrow.

       199.    Paragraph 199 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits that Mr.

Garlinghouse and Mr. Larsen were involved in Ripple’s decision to escrow 55 billion XRP.

       200.    Ripple denies the allegations in paragraph 200. To the extent paragraph 200

purports to quote, characterize, or summarize a document titled “Proposal to Consider XRP

Escrow Schedule,” the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.

       201.    Ripple denies the allegations in paragraph 201. To the extent paragraph 201

purports to quote, characterize, or summarize a document titled “Proposal to Consider XRP

Escrow Schedule,” the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.

       202.    Ripple denies the allegations in paragraph 202. To the extent paragraph 202

purports to quote, characterize, or summarize a document titled “Proposal to Consider XRP

Escrow Schedule,” the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.




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       203.    Paragraph 203 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Ripple and Mr. Garlinghouse made public statements regarding the formation

of the XRP escrow.

       204.    Paragraph 204 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       205.    The allegations in paragraph 205 contain legal conclusions to which no response

is required. Ripple respectfully refers the Court to the case SEC v. W.J. Howey Co., 328 U.S.

293 (1946), for its true and accurate contents.

       206.    The allegations in paragraph 206 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations. Ripple further

denies that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       207.    Paragraph 207 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       208.    Ripple denies the allegations in paragraph 208. To the extent paragraph 208

purports to quote, characterize, or summarize a document titled “XRP Distribution Framework,”

the document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       209.    Ripple denies the allegations in paragraph 209. To the extent paragraph 209

purports to quote, characterize, or summarize an email dated December 7, 2015, the document

speaks for itself, and Ripple respectfully refers the Court to the document for an accurate and

complete record of its contents.




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       210.    Ripple denies the allegations in paragraph 210, except admits that in June 2016,

the New York State Department of Financial Services granted XRP II a BitLicense to conduct

certain virtual currency business activities, which is consistent with U.S. authorities, both state

and federal, recognizing that XRP is a virtual currency. To the extent paragraph 210 purports to

quote, characterize, or summarize a document titled “Information Regarding XRP II, LLC’s

History and Business,” which states that XRP II’s customer base includes “in some limited cases,

accredited institutional investors who are purchasing XRP for speculative purposes,” the

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       211.    Ripple denies the allegations in paragraph 211. To the extent paragraph 211

purports to quote, characterize, or summarize an email dated July 5, 2019, the document speaks

for itself, and Ripple respectfully refers the Court to the full text of the document for an accurate

and complete record of its contents.

       212.    Ripple lacks sufficient information to either admit or deny the allegations in the

first sentence of paragraph 212 as to “investors,” and they are therefore denied. Ripple denies

the allegations in the second sentence of paragraph 212, except admits that Ripple distributed

XRP to the entity identified in paragraph 212. To the extent paragraph 212 purports to quote,

characterize, or summarize a draft document dated March 2015 that was prepared by that entity,

the document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       213.    The allegations in paragraph 213 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations.




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       214.    Ripple denies the allegations in paragraph 214, and further denies that the defined

term “Offering” accurately describes Ripple’s numerous different types of distributions of XRP

over many years, except Ripple admits that it has made public statements referencing XRP. In

addition, Ripple lacks sufficient knowledge to admit or deny the allegations that contain

insufficient citation or attribution, and the allegations are otherwise denied.

       215.    Paragraph 215 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 215

purports to quote, characterize, or summarize a report titled “Q3 2019 XRP Markets Report”

dated October 18, 2019 that was posted on Ripple’s website, and to the extent paragraph 215

purports to quote, characterize, or summarize a webpage titled “How to Buy XRP,” the contents

of which have changed over time and have, in the past, included a list of some third-party digital

asset exchanges that listed XRP, the documents speak for themselves, and Ripple respectfully

refers the Court to the full text of the documents for an accurate and complete record of their

contents. Ripple further denies that the defined term “Offering” accurately describes Ripple’s

numerous different types of distributions of XRP over many years.

       216.    The allegations in paragraph 216 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations. Ripple further

denies that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       217.    Paragraph 217 consists of ambiguous terms and characterizations to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 217 that contain insufficient citation or attribution,




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and the allegations are otherwise denied, except Ripple admits that it has made statements

referencing use cases for XRP.

       218.    Paragraph 218 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 218 that contain insufficient citation or attribution,

and the allegations are otherwise denied, except Ripple admits that it has made statements

referencing Ripple’s activities in connection with the XRP market.

       219.    The allegations in paragraph 219 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations and denies

that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       220.    Ripple denies the allegations in paragraph 220. To the extent paragraph 220

purports to quote, characterize, or summarize a webpage that purports to transcribe an April 14,

2014 interview of Mr. Larsen, the document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents.

       221.    Ripple denies the allegations in paragraph 221. To the extent paragraph 221

purports to quote, characterize, or summarize a document titled “The Ripple Protocol: A Deep

Dive for Finance Professionals,” the document speaks for itself, and Ripple respectfully refers

the Court to the full text of the document for an accurate and complete record of its contents. In

addition, Ripple denies that Plaintiff’s use of the term “2014 Promotional Document” accurately

describes that document.

       222.    Paragraph 222 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations in paragraph 222. To the




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extent paragraph 22 purports to quote, characterize, or summarize a document titled “The Ripple

Protocol: A Deep Dive for Finance Professionals,” the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents. In addition, Ripple denies that Plaintiff’s use of the term “2014 Promotional

Document” accurately describes that document.

       223.    Paragraph 223 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. To

the extent paragraph 223 purports to quote, characterize, or summarize a document titled “The

Ripple Protocol: A Deep Dive for Finance Professionals,” the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents. In addition, Ripple denies that Plaintiff’s use of the term “2014

Promotional Document” accurately describes that document.

       224.    Ripple lacks sufficient knowledge to admit or deny the allegations in paragraph

224 that contain insufficient citation or attribution, and otherwise denies the allegations. Ripple

further denies that the defined term “Offering” accurately describes Ripple’s numerous different

types of distributions of XRP over many years.

       225.    Ripple denies the allegations in paragraph 225. To the extent paragraph 225

purports to quote, characterize, or summarize a forum post dated June 3, 2016 made by the

account that paragraph 225 attributes to Cryptographer-1 on the General Discussion forum of the

website xrpchat.com, the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents.

       226.    Ripple denies the allegations in paragraph 226. To the extent the first sentence of

paragraph 226 purports to quote, characterize, or summarize a forum post dated January 21, 2017




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made by the account that paragraph 226 attributes to Cryptographer-1 on the General Discussion

forum of the website xrpchat.com, and to the extent the second sentence of paragraph 226

purports to quote, characterize, or summarize a Reddit post dated September 12, 2017 made by

the account that paragraph 226 attributes to Cryptographer-1, the documents speak for

themselves, and Ripple respectfully refers the Court to the full text of the documents for an

accurate and complete record of their contents.

       227.    Ripple denies the allegations in paragraph 227. To the extent paragraph 227

purports to quote, characterize, or summarize an email dated June 4, 2017 sent by Mr.

Garlinghouse, the document speaks for itself, and Ripple respectfully refers the Court to the full

text of the document for an accurate and complete record of its contents.

       228.    Ripple denies the allegations in paragraph 228. To the extent paragraph 228

purports to quote, characterize, or summarize an email dated June 4, 2017 sent by Mr.

Garlinghouse, the document speaks for itself, and Ripple respectfully refers the Court to the full

text of the document for an accurate and complete record of its contents.

       229.    Paragraph 229 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. To

the extent paragraph 229 purports to quote, characterize, or summarize an announcement titled

“Ripple to Place 55 Billion XRP in Escrow to Ensure Certainty of Total XRP Supply” dated May

16, 2017, and an announcement titled “Ripple Escrows 55 Billion XRP for Supply

Predictability” dated December 7, 2017, that were posted on Ripple’s website, the documents

speak for themselves, and Ripple respectfully refers the Court to the full text of the documents

for an accurate and complete record of their contents.




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       230.    Ripple denies the allegations in paragraph 230. To the extent paragraph 230

purports to quote, characterize, or summarize statements from a video of a December 14, 2017

interview of Mr. Garlinghouse posted on Ripple’s website, the video speaks for itself, and Ripple

respectfully refers the Court to the full video for an accurate and complete record of its contents.

       231.    Ripple denies the allegations in the first sentence of paragraph 231, which

selectively quote and take out of context a report titled “Q4 2017 XRP Markets Report” dated

January 24, 2018 that was posted on Ripple’s website. The document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents. Ripple denies the allegations in the second sentence of paragraph 231. To

the extent the second sentence of paragraph 231 purports to quote, characterize, or summarize

statements from a video dated March 15, 2018 posted on the website finance.yahoo.com, the

video speaks for itself, and Ripple respectfully refers the Court to the full video for an accurate

and complete record of its contents.

       232.    Ripple denies the allegations in paragraph 232. To the extent paragraph 232

purports to quote, characterize, or summarize a report titled “Q4 2017 XRP Markets Report”

dated January 24, 2018 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       233.    Ripple denies the allegations in paragraph 233. To the extent paragraph 233

purports to quote, characterize, or summarize two Reddit posts dated September 11, 2017 and

November 17, 2017, each made by the account that paragraph 233 attributes to Cryptographer-1,

the documents speak for themselves, and Ripple respectfully refers the Court to the full text of

the documents for an accurate and complete record of their contents.




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       234.    Ripple denies the allegations in paragraph 234. To the extent paragraph 234

purports to quote, characterize, or summarize a tweet sent by the @bgarlinghouse account on

January 17, 2018 that links to an article on CNBC’s website dated January 16, 2018, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       235.    Paragraph 235 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 235

purports to quote, characterize, or summarize a video aired by CNN of a February 17, 2020

interview of Mr. Garlinghouse at the New York Stock Exchange in Manhattan, the video speaks

for itself, and Ripple respectfully refers the Court to the full video for an accurate and complete

record of its contents.

       236.    Paragraph 236 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations in paragraph 236. To the

extent paragraph 236 purports to quote, characterize, or summarize a video aired by CNN of a

February 17, 2020 interview of Mr. Garlinghouse at the New York Stock Exchange in

Manhattan, the video speaks for itself, and Ripple respectfully refers the Court to the full video

for an accurate and complete record of its contents.

       237.    Paragraph 237 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       238.    Paragraph 238 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent the first

sentence of paragraph 238 purports to quote, characterize, or summarize a webpage titled “XRP

Distribution” that was previously posted on Ripple’s website, and to the extent the second




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sentence of paragraph 238 purports to quote, characterize, or summarize an announcement titled

“Ripple to Place 55 Billion XRP in Escrow to Ensure Certainty of Total XRP Supply” dated May

16, 2017 that was posted on Ripple’s website, the documents speak for themselves, and Ripple

respectfully refers the Court to the full text of the documents for an accurate and complete record

of their contents.

        239.    Ripple denies the allegations in paragraph 239. To the extent paragraph 239

purports to quote, characterize, or summarize statements from a video of a February 19, 2014

interview of Mr. Larsen, the video speaks for itself, and Ripple respectfully refers the Court to

the full video for an accurate and complete record of its contents.

        240.    Ripple denies the allegations in paragraph 240. To the extent paragraph 240

purports to quote, characterize, or summarize an announcement titled “Ripple to Place 55 Billion

XRP in Escrow to Ensure Certainty of Total XRP Supply” dated May 16, 2017 that was posted

on Ripple’s website, the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents.

        241.    Ripple denies the allegations in paragraph 241. To the extent paragraph 241

purports to quote, characterize, or summarize a report titled “Q2 2019 XRP Markets Report”

dated July 24, 2019 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

        242.    Ripple denies the allegations in paragraph 242. To the extent paragraph 242

purports to quote, characterize, or summarize a report titled “Q2 2020 XRP Markets Report”

dated August 3, 2020 that was posted on Ripple’s website, the document speaks for itself, and




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Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       243.    Paragraph 243 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       244.    Paragraph 244 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       245.    Ripple denies the allegations in paragraph 245. To the extent paragraph 245

purports to quote, characterize, or summarize a webpage titled “Ripple credits” on the website

wiki.ripple.com, the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.

       246.    Ripple denies the allegations in paragraph 246. To the extent paragraph 246

purports to quote, characterize, or summarize a Reddit post dated November 21, 2017 made by

the account that paragraph 246 attributes to Cryptographer-1, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       247.    Paragraph 247 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple further denies that the defined term “Offering” accurately describes Ripple’s numerous

different types of distributions of XRP over many years.

       248.    Ripple denies the allegations in paragraph 248. To the extent paragraph 248

purports to quote, characterize, or summarize a post titled “Ripple 2016: A Year in Review”

dated December 28, 2016 that was posted on Ripple’s website, the document speaks for itself,




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and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

       249.    Paragraph 249 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 249

purports to quote, characterize, or summarize a report titled “Q4 2016 XRP Markets Report”

dated January 24, 2017 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       250.    Ripple denies that paragraph 250 accurately describes a tweet sent by the account

paragraph 250 attributes to Ripple Agent-2 and that such tweet contains a link to the article

described in paragraph 250. To the extent paragraph 250 purports to quote, characterize, or

summarize an article titled “BitGo to Build Enterprise Wallet and Treasury Management

Platform for XRP” that was posted on the website blog.bitgo.com, the document speaks for

itself, and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

       251.    Ripple incorporates by reference its responses to Sections III and IV.A.1.

Paragraph 251 consists of characterizations to which no response is required. To the extent any

response is necessary, Ripple lacks sufficient knowledge to admit or deny the allegations in

paragraph 251 that contain insufficient citation or attribution, except admits that Ripple publicly

announced its plans to create an escrow and that Mr. Garlinghouse publicly spoke about Ripple’s

escrow.

       252.    Ripple denies the allegations in paragraph 252. To the extent paragraph 252

purports to quote, characterize, or summarize statements from a video of a December 14, 2017




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interview of Mr. Garlinghouse posted on the Bloomberg News website, the video speaks for

itself, and Ripple respectfully refers the Court to the full video for an accurate and complete

record of its contents.

        253.    Ripple denies the allegations in paragraph 253. To the extent paragraph 253

purports to quote, characterize, or summarize statements from a video of a March 7, 2018

interview of Mr. Garlinghouse posted on the website cnbc.com, the video speaks for itself, and

Ripple respectfully refers the Court to the full video for an accurate and complete record of its

contents.

        254.    Ripple denies the allegations in paragraph 254. Ripple specifically denies that the

first sentence of paragraph 254 accurately quotes a tweet sent by the @Ripple account on April

11, 2018, and denies that the second sentence of paragraph 254 accurately quotes a tweet sent by

the account attributed to Ripple Agent-3. The documents speak for themselves, and Ripple

respectfully refers the Court to the full text of the documents for an accurate and complete record

of their contents.

        255.    Paragraph 255 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 255 that contain insufficient citation or attribution,

and the allegations are otherwise denied, except Ripple admits that Ripple has spoken publicly

about Xpring and RippleWorks.

        256.    Paragraph 256 consists of characterizations, predictions about future behavior,

and legal conclusions to which no response is required. To the extent any response is necessary,

Ripple denies the allegations.




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       257.    Paragraph 257 consists of characterizations to which no response is required, and

the allegations in paragraph 257 are therefore denied. To the extent paragraph 257 refers to

publicly-available data, Ripple respectfully refers the Court to the data for an accurate and

complete record of its contents.

       258.    Paragraph 258 consists of characterizations, predictions about future behavior,

and legal conclusions to which no response is required. To the extent any response is necessary,

Ripple denies the allegations.

       259.    Paragraph 259 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       260.    Paragraph 260 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       261.    Paragraph 261 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple further denies that the defined term “Offering” accurately describes Ripple’s numerous

different types of distributions of XRP over many years.

       262.    Paragraph 262 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 262 that contain insufficient citation or attribution

and otherwise denies the allegations, except Ripple admits that some Ripple employees have

publicly stated that they own XRP.

       263.    Paragraph 263 consists of characterizations, predictions about future behavior,

and legal conclusions to which no response is required. To the extent any response is necessary,




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Ripple lacks sufficient knowledge to admit or deny the allegations in paragraph 263 that contain

insufficient citation or attribution, and the allegations are otherwise denied.

       264.    The allegations in paragraph 264 contain legal conclusions to which no response

is required. To the extent any response is necessary, Ripple denies the allegations. Ripple

further denies that the defined term “Offering” accurately describes Ripple’s numerous different

types of distributions of XRP over many years.

       265.    Paragraph 265 consists of characterizations, predictions about future behavior,

and legal conclusions to which no response is required. To the extent any response is necessary,

Ripple denies the allegations.

       266.    Paragraph 266 consists of characterizations and predictions about future behavior

to which no response is required. To the extent any response is necessary, Ripple denies the

allegations.

       267.    Paragraph 267 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, and denies that the defined

term “Offering” accurately describes Ripple’s numerous different types of distributions of XRP

over many years.

       268.    Paragraph 268 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 268 as to unnamed and unspecified “prospective

investors” and that contain insufficient citation or attribution, and the allegations are otherwise

denied, except Ripple admits that proceeds from Ripple’s sales of XRP were used to support

Ripple’s operations.

       269.    Ripple denies the allegations in paragraph 269.




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        270.       Ripple denies the allegations in paragraph 270. To the extent paragraph 270

purports to quote, characterize, or summarize a forum post dated March 10, 2013 made by the

account paragraph 270 attributes to Cryptographer-1 on the “Questions to opencoin” forum of

the website forum.ripple.com, the document speaks for itself, and Ripple respectfully refers the

Court to the full text of the document for an accurate and complete record of its contents.

        271.       Ripple denies the allegations in paragraph 271. To the extent paragraph 271

purports to quote, characterize, or summarize a forum post dated August 28, 2013 made by the

account paragraph 271 attributes to Ripple Agent-1 on the “Is OpenCoin Business Model Based

on XRP Sales?” forum of the website forum.ripple.com, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

        272.       Ripple denies the allegations in paragraph 272. To the extent paragraph 272

purports to quote, characterize, or summarize a forum post dated September 2, 2013 made by the

account paragraph 272 attributes to Ripple Agent-1 on the “Re: How does opencoin maintain

operation?” forum of the website forum.ripple.com, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        273.       Paragraph 273 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 273

purports to quote, characterize, or summarize a document titled “The Ripple Protocol: A Deep

Dive for Finance Professionals,” the document speaks for itself, and Ripple respectfully refers

the Court to the full text of the document for an accurate and complete record of its contents.




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Ripple further denies that Plaintiff’s use of the term “2014 Promotional Document” accurately

describes the document referenced in paragraph 273.

       274.    Paragraph 274 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 274

purports to quote, characterize, or summarize statements from an article dated April 14, 2014

posted on the website paymentweek.com, the document speaks for itself, and Ripple respectfully

refers the Court to the full text of the document for an accurate and complete record of its

contents.

       275.    Ripple denies the allegations in paragraph 275. To the extent paragraph 275

purports to quote, characterize, or summarize a September 2014 through September 2017

archived version of a webpage titled “Ripple credits” posted on the website wiki.ripple.com, the

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       276.    Paragraph 276 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 276

purports to quote, characterize, or summarize a forum post dated August 28, 2013 made by the

account paragraph 276 attributes to Ripple Agent-1 on the “Is OpenCoin business model based

on XRP sales?” forum of the website forum.ripple.com, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       277.    Paragraph 277 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent the first two

sentences of paragraph 277 purport to quote, characterize, or summarize a document titled




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“OpenCoin, Inc.” dated July 2013, and to the extent the third and fourth sentences of paragraph

277 purport to quote, characterize, or summarize a tweet sent by the @bgarlinghouse account on

December 12, 2017, the documents speak for themselves, and Ripple respectfully refers the

Court to the full text of the documents for an accurate and complete record of their contents.

        278.       Ripple denies the allegations in paragraph 278. To the extent paragraph 278

purports to quote, characterize, or summarize a document titled “The Ripple Protocol: A Deep

Dive for Finance Professionals,” the document speaks for itself, and Ripple respectfully refers

the Court to the full text of the document for an accurate and complete record of its contents.

Ripple further denies that Plaintiff’s use of the term “2014 Promotional Document” accurately

describes the document referenced in paragraph 278.

        279.       Paragraph 279 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 279

purports to quote, characterize, or summarize a forum post dated May 25, 2017 made by the

account paragraph 279 attributes to Cryptographer-1 on the “XRP Trading and Price

Speculation” forum of the website xrpchat.com, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        280.       Paragraph 280 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

        281.       Ripple denies the allegations in paragraph 281. To the extent paragraph 281

purports to quote, characterize, or summarize a tweet sent by the @bgarlinghouse account on

January 17, 2018, the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.




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       282.    Ripple denies the allegations in paragraph 282. To the extent paragraph 282

purports to quote, characterize, or summarize statements from a video of a February 7, 2018

interview of Mr. Garlinghouse, the video speaks for itself, and Ripple respectfully refers the

Court to the full video for an accurate and complete record of its contents.

       283.    Ripple denies the allegations in paragraph 283. To the extent paragraph 283

purports to quote, characterize, or summarize statements from a video of a March 7, 2018

interview of Mr. Garlinghouse posted on the website cnbc.com, the video speaks for itself, and

Ripple respectfully refers the Court to the full video for an accurate and complete record of its

contents.

       284.    Ripple denies the allegations in paragraph 284. To the extent paragraph 284

purports to quote, characterize, or summarize an article dated August 13, 2020, posted on the

Financial Times website, the document speaks for itself, and Ripple respectfully refers the Court

to the full text of the document for an accurate and complete record of its contents.

       285.    Ripple denies the allegations in paragraph 285. To the extent paragraph 285

purports to quote, characterize, or summarize a transcript of an October 8, 2019 speech given by

Mr. Garlinghouse at the Economic Club of New York in Manhattan, the document speaks for

itself, and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents. Ripple avers that Mr. Garlinghouse also stated in the quote

referenced in paragraph 285, “Anything we do that’s good for that digital asset is good for us.

So if you’re a gold mining company, you care about, you have a lot of reserves, you care about

the value of gold. If you’re Exxon, you care about the value of oil.”




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        286.       Ripple denies the allegations in paragraph 286, except avers that approximately

48 billion XRP is held in escrow on Ripple’s behalf and Ripple currently holds more than 6

billion XRP outside the escrow.

        287.       Paragraph 287 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 287

purports to quote, characterize, or summarize a legal memorandum dated February 8, 2012 from

a law firm that was addressed to Co-Founder and another individual, and to the extent paragraph

287 purports to quote, characterize, or summarize a second legal memorandum dated October 19,

2012 from the same law firm that was addressed to Mr. Larsen, Co-Founder, and OpenCoin, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents. Ripple avers that any

reasonable reader of the true and accurate contents of the memorandum dated October 19, 2012

would understand that counsel’s ultimate conclusion was that Ripple Credits (as described) did

not constitute “securities” under the federal securities laws.

        288.       Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 288 as to Equity Investor A, and they are therefore denied. To the extent paragraph

288 refers to an Equity Investor A internal email, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        289.       Paragraph 289 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

        290.       Paragraph 290 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,




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except admits that at times, Ripple posted on its website quarterly reports partially titled “XRP

Markets Report.”

       291.    Ripple incorporates by reference its responses to Section IV.A.1. Paragraph 291

consists of characterizations and legal conclusions to which no response is required. To the

extent any response is necessary, Ripple lacks sufficient information to either admit or deny the

allegations in paragraph 291 as to unnamed and unspecified “investors,” and the allegations are

otherwise denied. Ripple further denies that the defined term “Offering” accurately describes

Ripple’s numerous different types of distributions of XRP over many years.

       292.    Paragraph 292 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple specifically denies that paragraph 292 accurately quotes statements from a video of a

March 14, 2018 interview of Mr. Garlinghouse. The video speaks for itself, and Ripple

respectfully refers the Court to the full video for an accurate and complete record of its contents.

       293.    Paragraph 293 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. To

the extent paragraph 293 purports to quote, characterize, or summarize an email dated May 7,

2017, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

       294.    Paragraph 294 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. To

the extent paragraph 294 purports to quote, characterize, or summarize statements from a video

of a December 14, 2017 interview of Mr. Garlinghouse posted on Ripple’s channel on the




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website YouTube.com, the video speaks for itself, and Ripple respectfully refers the Court to the

full video for an accurate and complete record of its contents.

        295.    Paragraph 295 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

        296.    Ripple incorporates by reference its responses to Section III.B. Paragraph 296

consists of characterizations and legal conclusions to which no response is required. To the

extent any response is necessary, Ripple denies the allegations.

        297.    Ripple denies the allegations in paragraph 297. To the extent paragraph 297

purports to quote, characterize, or summarize a tweet sent by the account paragraph 297

attributes to Ripple Agent-3 on May 18, 2017, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for accurate and complete record of

its contents.

        298.    Ripple denies the allegations in paragraph 298. To the extent paragraph 298

purports to quote, characterize, or summarize a report titled “Q1 2017 XRP Markets Report”

dated April 18, 2017 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

        299.    Ripple denies the allegations in paragraph 299. To the extent paragraph 299

purports to quote, characterize, or summarize an email sent by Mr. Garlinghouse on June 5,

2017, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

        300.    Ripple denies the allegations in paragraph 300. To the extent paragraph 300

purports to quote, characterize, or summarize statements from a video of a December 14, 2017




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interview of Mr. Garlinghouse posted on Ripple’s channel on the website YouTube.com, the

video speaks for itself, and Ripple respectfully refers the Court to the full video for an accurate

and complete record of its contents.

       301.    Ripple denies the allegations in paragraph 301. To the extent paragraph 301

purports to quote, characterize, or summarize an article titled “XRP Now Available on 50

Exchanges Worldwide” dated December 21, 2017 and an article titled “Top 9 Frequently Asked

Questions About Ripple and XRP” dated January 18, 2018, both posted on Ripple’s website, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       302.    Ripple denies the allegations in paragraph 302. Ripple specifically denies that the

quoted language in paragraph 302 appears in a tweet sent by the @Ripple account on December

21, 2017. To the extent paragraph 302 purports to quote, characterize, or summarize a tweet sent

on December 21, 2017 by the @Ripple account that linked to an article titled “XRP Now

Available on 50 Exchanges Worldwide,” the document speaks for itself, and Ripple respectfully

refers the Court to the full text of the document for an accurate and complete record of its

contents.

       303.    Paragraph 303 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       304.    Ripple denies the allegations in paragraph 304. To the extent paragraph 304

purports to quote, characterize, or summarize an email sent by Mr. Garlinghouse on January 18,

2017, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.




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        305.       Ripple denies the allegations in paragraph 305. To the extent paragraph 305

purports to quote, characterize, or summarize a tweet sent by the @Ripple account on March 24,

2017, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

        306.       Ripple denies the allegations in paragraph 306. To the extent paragraph 306

purports to quote, characterize, or summarize a tweet sent by the @Ripple account on May 3,

2017 and an article linked to that tweet posted on the website nasdaq.com, the documents speak

for themselves, and Ripple respectfully refers the Court to the full text of the documents for an

accurate and complete record of its contents.

        307.       Ripple denies the allegations in paragraph 307. To the extent paragraph 307

purports to quote, characterize, or summarize a tweet sent by the account paragraph 307

attributes to Cryptographer-1 on May 5, 2017, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        308.       Ripple denies the allegations in paragraph 308. To the extent the first sentence of

paragraph 308 purports to quote, characterize, or summarize a tweet sent by the @Ripple

account on June 29, 2017, which quoted and retweeted a tweet sent by the @AkikoFujita account

on June 28, 2017, and to the extent the second sentence of paragraph 308 purports to quote,

characterize, or summarize statements from a June 28, 2017 video of Mr. Garlinghouse

accompanying the tweet, the documents and video speak for themselves, and Ripple respectfully

refers the Court to the full text of the documents and the full video for an accurate and complete

record of their contents.




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       309.     Ripple denies the allegations in paragraph 309. To the extent paragraph 309

purports to quote, characterize, or summarize a report titled “Q3 2017 XRP Markets Report”

dated October 19, 2017 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

       310.    Ripple denies the allegations in paragraph 310. To the extent the first sentence of

paragraph 310 purports to quote, characterize, or summarize a tweet sent by the @Ripple

account on December 7, 2017, and to the extent the second sentence of paragraph 310 purports to

quote, characterize, or summarize a tweet sent by the @bgarlinghouse account on December 7,

2017, the documents speak for themselves, and Ripple respectfully refers the Court to the full

text of the documents for an accurate and complete record of their contents.

       311.    Ripple denies the allegations in paragraph 311. To the extent paragraph 311

purports to quote, characterize, or summarize a tweet sent by the @yoshitaka_kitao account on

December 12, 2017, which was quoted and retweeted by the @bgarlinghouse account on

December 12, 2017, the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents.

       312.    Ripple denies the allegations in paragraph 312. To the extent paragraph 312

purports to quote, characterize, or summarize a tweet sent by the @bgarlinghouse account on

December 22, 2017, the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents.

       313.    Paragraph 313 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.




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        314.       Ripple denies the allegations in paragraph 314, which selectively quote,

mischaracterize, and take out of context a report titled “Q1 2017 XRP Markets Report” dated

April 18, 2017 that was posted on Ripple’s website. The document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.

        315.       Ripple denies the allegations in paragraph 315. To the extent paragraph 315

purports to quote, characterize, or summarize a report titled “Q2 2017 XRP Markets Report”

dated July 20, 2017 that was posted on Ripple’s website, the document speaks for itself, and

Ripple respectfully refers the Court to the full text of the document for an accurate and complete

record of its contents.

        316.       Paragraph 316 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient knowledge

to admit or deny the allegations in paragraph 316 as to Mr. Garlinghouse’s sales of XRP and that

contain insufficient citation or attribution, and the allegations are otherwise denied, except

Ripple admits that Mr. Garlinghouse made public statements that he held XRP. Ripple further

denies that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

        317.       Ripple denies the allegations in paragraph 317. To the extent paragraph 317

purports to quote, characterize, or summarize an email sent by Mr. Garlinghouse on June 5,

2017, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

        318.       Ripple denies the allegations in paragraph 318. To the extent paragraph 318

purports to quote, characterize, or summarize a series of emails dated June 5, 2017, the




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documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       319.    Ripple denies the allegations in paragraph 319. To the extent paragraph 319

purports to quote, characterize, or summarize statements from a recording of an interview of Mr.

Garlinghouse, which Ripple avers took place on August 30, 2017 on a podcast titled, “The Eric

Jackson Podcast,” the podcast speaks for itself, and Ripple respectfully refers the Court to the

full podcast for an accurate and complete record of its contents.

       320.    Ripple denies the allegations in paragraph 320. To the extent paragraph 320

purports to quote, characterize, or summarize statements from a video of an October 18, 2017

interview of Mr. Garlinghouse at a Ripple-sponsored conference that was posted on Ripple’s

channel on the website YouTube.com, the video speaks for itself, and Ripple respectfully refers

the Court to the full video for an accurate and complete record of its contents. Ripple

specifically denies that Mr. Garlinghouse’s statement referred to in the second sentence of

paragraph 320 was made in response to a question about XRP’s price.

       321.    Ripple lacks sufficient knowledge to admit or deny the allegations in paragraph

321 as to Mr. Garlinghouse’s sales of XRP, and the allegations are otherwise denied. To the

extent the first sentence of paragraph 321 purports to quote, characterize, or summarize

statements from a video of a November 15, 2017 interview of Mr. Garlinghouse on CNBC, and

to the extent the remaining sentences in paragraph 321 purport to quote, characterize, or

summarize statements from a video of a December 14, 2017 interview of Mr. Garlinghouse

posted on the BNN Bloomberg Canada website, the videos speak for themselves, and Ripple

respectfully refers the Court to the full videos for an accurate and complete record of their

contents.




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       322.    Ripple denies the allegations in paragraph 322. To the extent the first sentence of

paragraph 322 purports to quote, characterize, or summarize statements from a video of a March

12, 2018 interview of Mr. Garlinghouse posted on the Bloomberg website, and to the extent the

second sentence of paragraph 322 purports to quote, characterize, or summarize statements from

a video of a December 14, 2017 interview of Mr. Garlinghouse posted on the BNN Bloomberg

Canada website, the videos speak for themselves, and Ripple respectfully refers the Court to the

full videos for an accurate and complete record of their contents.

       323.    Paragraph 323 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 323

purports to quote, characterize, or summarize statements from a video aired by CNN of a

February 17, 2020 interview of Mr. Garlinghouse at the New York Stock Exchange in

Manhattan, the video speaks for itself, and Ripple respectfully refers the Court to the full video

for an accurate and complete record of its contents.

       324.    Paragraph 324 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       325.    Ripple denies the allegations in paragraph 325. To the extent paragraph 325

purports to quote, characterize, or summarize a document titled “Proposal to Consider XRP

Escrow Schedule,” the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.

       326.    Ripple denies the allegations in paragraph 326. To the extent paragraph 326

purports to quote, characterize, or summarize an email dated March 31, 2017 sent by Ripple

Agent-3, the document speaks for itself, and Ripple respectfully refers the Court to the full text

of the document for an accurate and complete record of its contents.




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       327.    Paragraph 327 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       328.    Ripple denies the allegations in paragraph 328, except admits that XRP can be

transferred or traded in the open market and has been trading in the open market since 2013.

       329.    Paragraph 329 consists of characterizations, an ambiguous defined term, and legal

conclusions to which no response is required. To the extent any response is necessary, Ripple

denies the allegations, except admits that Ripple sold XRP, a virtual currency, to sophisticated

entities in exchange for fiat or other currencies and that certain sales of XRP by Ripple were

made at discounted prices.

       330.    Paragraph 330 consists of characterizations and predictions of future behavior to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations, except admits that Ripple currently holds XRP. To the extent paragraph 330

purports to quote, characterize, or summarize statements from a video of a February 20, 2020

interview of Mr. Garlinghouse posted on the Financial Times website, and to the extent

paragraph 330 purports to quote, characterize, or summarize statements from a video of a

December 29, 2017 interview of Mr. Garlinghouse posted on the Bloomberg website, the videos

speak for themselves, and Ripple respectfully refers the Court to the full videos for an accurate

and complete record of their contents.

       331.    Ripple denies the allegations in paragraph 331. To the extent paragraph 331

purports to quote, characterize, or summarize statements from a video of a December 29, 2017

interview of Mr. Garlinghouse posted on the Bloomberg website, the video speaks for itself, and

Ripple respectfully refers the Court to the full video for an accurate and complete record of its

contents.




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       332.    Ripple denies the allegations in paragraph 332.

       333.    Ripple denies the allegations in paragraph 333, except admits that ODL uses

XRP.

       334.    Ripple denies the allegations in the first sentence of paragraph 334, except admits

that ODL effects cross-border payments by converting fiat currency in the sender jurisdiction

into XRP, transferring XRP to the destination jurisdiction, and then converting XRP to fiat

currency in the destination jurisdiction. Ripple denies the allegations in the second sentence of

paragraph 334, except admits that ODL transactions can take ninety seconds or less.

       335.    Ripple denies the allegations in paragraph 335, except admits that Ripple

currently partners with certain financial institutions in connection with ODL.

       336.    Ripple denies the allegations in paragraph 336. To the extent paragraph 336

purports to quote, characterize, or summarize statements from a video of a June 21, 2018

interview of Mr. Garlinghouse at a CB Insights Conference, the video speaks for itself, and

Ripple respectfully refers the Court to the full video for an accurate and complete record of its

contents.

       337.    Ripple denies the allegations in paragraph 337, and avers that Ripple launched

xRapid, an earlier version of ODL, on October 1, 2018.

       338.    Paragraph 338 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       339.    Paragraph 339 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations in the first and second

sentences of paragraph 339. Ripple lacks sufficient information to either admit or deny the




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allegations in the third sentence of paragraph 339 as to the Money Transmitter, and they are

therefore denied.

       340.    Ripple denies the allegations in paragraph 340, except admits that Ripple has

publicly entered into a strategic partnership with the Money Transmitter in connection with ODL

and that Ripple owns some portion of the Money Transmitter’s publicly-traded stock.

       341.    Ripple lacks sufficient knowledge to admit or deny the allegations in paragraph

341 that contain insufficient citation or attribution, and the allegations are otherwise denied,

except Ripple admits that Ripple distributed XRP to the Money Transmitter.

       342.    Paragraph 342 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       343.    Paragraph 343 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations.

       344.    Ripple denies the allegations in paragraph 344. To the extent paragraph 344

purports to quote, characterize, or summarize statements from a video aired by CNN of a

September 12, 2019 interview of Mr. Garlinghouse, the video speaks for itself, and Ripple

respectfully refers the Court to the full video for an accurate and complete record of its contents.

       345.    Ripple incorporates by reference its response to paragraph 211. Ripple denies the

allegations in paragraph 345.

       346.    Ripple denies the allegations in paragraph 346. To the extent paragraph 346

purports to quote, characterize, or summarize a report titled “Q2 2020 XRP Markets Report”

dated August 3, 2020 that was posted on Ripple’s website, which stated that Ripple had

“continued the pause of programmatic sales, focusing solely on its over-the-counter (OTC) sales

as part of providing increased XRP liquidity to RippleNet’s On-Demand Liquidity (ODL)




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customers,” the document speaks for itself, and Ripple respectfully refers the Court to the full

text of the document for an accurate and complete record of its contents.

       347.    Ripple denies the allegations in paragraph 347, except admits that, between May

and August 2020, Ripple sold XRP to ODL customers, who then used the XRP as the bridge

asset in the ODL transactions they were effecting.

       348.    Ripple denies the allegations in paragraph 348, except admits that Mr.

Garlinghouse has made statements concerning the value creation of ODL.

       349.    Paragraph 349 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple further denies that the defined term “Offering” accurately describes Ripple’s numerous

different types of distributions of XRP over many years.

       350.    Paragraph 350 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits that Ripple

sold XRP in exchange for fiat or other currencies. Ripple further denies that the defined term

“Offering” accurately describes Ripple’s numerous different types of distributions of XRP over

many years.

       351.    Paragraph 351 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations and further denies that the

defined term “Offering” accurately describes Ripple’s numerous different types of distributions

of XRP over many years.

       352.    Paragraph 352 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits that Ripple




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sold XRP to ODL customers in exchange for fiat or other currencies and that such XRP was used

by the ODL customers as the bridge asset in the ODL transactions being effected.

       353.    Ripple denies the allegations in paragraph 353, except admits that, in May 2015,

Ripple and XRP II entered into a settlement with the DOJ and FinCEN in which the DOJ and

FinCEN referred to XRP as a “convertible virtual currency.”

       354.    Ripple denies the allegations in paragraph 354, except admits that XRP is a

currency, not an investment contract, and is therefore exempt from the Securities Act, and further

admits that Ripple has stated this fact publicly.

       355.    The allegations in paragraph 355 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations, as XRP is a

virtual currency. Ripple denies the allegation in footnote 5 of paragraph 355. To the extent

footnote 5 purports to quote, characterize, or summarize FinCEN Guidance titled “Application of

FinCEN’s Regulations to Certain Business Models Involving Convertible Virtual Currencies,”

dated May 9, 2019, the document speaks for itself, and Ripple respectfully refers the Court to the

full text of the document for an accurate and complete record of its contents.

       356.    The allegations in paragraph 356 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations.

       357.    The allegations in paragraph 357 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations. Ripple further

denies that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       358.    The allegations in paragraph 358 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple lacks sufficient knowledge to admit or




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deny the allegations in paragraph 358 that contain insufficient citation or attribution, and the

allegations are otherwise denied.

        359.       Ripple denies the allegations in paragraph 359. To the extent paragraph 359

purports to quote, characterize, or summarize a forum post dated June 3, 2016, made by the

account paragraph 359 attributes to Cryptographer-1 on the “General Discussion” forum of the

website xrpchat.com, the document speaks for itself, and Ripple respectfully refers the Court to

the full text of the document for an accurate and complete record of its contents.

        360.       Ripple denies the allegations in paragraph 360. To the extent paragraph 360

purports to quote, characterize, or summarize statements from a video of a March 14, 2018 press

conference given by Mr. Garlinghouse, the video speaks for itself, and Ripple respectfully refers

the Court to the full video for an accurate and complete record of its contents.

        361.       Ripple denies the allegations in paragraph 361. To the extent paragraph 361

purports to quote, characterize, or summarize a transcript of an October 8, 2019 speech given by

Mr. Garlinghouse at the Economic Club of New York in Manhattan, the document speaks for

itself, and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

        362.       Ripple denies the allegations in paragraph 362.

        363.       Paragraph 363 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. To

the extent paragraph 363 purports to quote, characterize, or summarize a document titled “Ripple

Code of Conduct” dated December 8, 2015, the document speaks for itself, and Ripple

respectfully refers the Court to the full text of the document for an accurate and complete record

of its contents.




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       364.    Paragraph 364 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations. To

the extent paragraph 364 purports to quote, characterize, or summarize a document titled “Ripple

Labs Inc. (‘Ripple’) Employee and Board Member XRP Trading Plan Instructions” dated July 1,

2019, the document speaks for itself, and Ripple respectfully refers the Court to the full text of

the document for an accurate and complete record of its contents.

       365.    Paragraph 365 consists of characterizations, legal conclusions, and predictions

about future behavior to which no response is required. To the extent any response is necessary,

Ripple denies the allegations.

       366.    Ripple lacks sufficient knowledge to admit or deny the allegations in paragraph

366 that contain insufficient citation or attribution, and the allegations are otherwise denied,

except Ripple admits that Ripple is engaged in interstate commerce. Ripple further denies that

the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       367.    Paragraph 367 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Ripple did not file a registration statement for XRP with the SEC because

none was required.

       368.    Paragraph 368 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple lacks sufficient information

to either admit or deny the allegations in paragraph 368 as to unnamed and unspecified

“investors,” “users,” “purchasers,” or “the market,” and the allegations are otherwise denied.




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Ripple further denies that the defined term “Offering” accurately describes Ripple’s numerous

different types of distributions of XRP over many years.

       369.    Paragraph 369 consists of characterizations, accusations, and legal conclusions to

which no response is required. To the extent any response is necessary, Ripple denies the

allegations and incorporates by reference its responses to Section I.B. Ripple further denies that

the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       370.    Paragraph 370 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations, and

incorporates by reference its responses to Section I.B.

       371.    Paragraph 371 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations, and

incorporates by reference its responses to Section I.B, except that Ripple lacks sufficient

information to either admit or deny the allegations in paragraph 371 as to Mr. Larsen’s

“understanding” at an unspecified point in time.

       372.    Paragraph 372 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, and incorporates by reference

its responses to Section I.B, except that Ripple lacks sufficient information to either admit or

deny the allegations in paragraph 372 as to Mr. Larsen’s state of mind. To the extent paragraph

372 purports to quote, characterize, or summarize a series of emails dated February 6, 2017, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.




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       373.    Paragraph 373 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 373

purports to quote, characterize, or summarize a series of emails dated January 5, 2015, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents. Ripple avers that the full quote

referenced in paragraph 373 is: “We don’t know of the SEC taking any position on the issue of

whether a virtual currency is itself a security. However, one certainly can create a security by

packaging virtual currency.”

       374.    Paragraph 374 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

Ripple further denies that the defined term “Offering” accurately describes Ripple’s numerous

different types of distributions of XRP over many years.

       375.    Paragraph 375 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations.

       376.    Ripple denies the allegations in paragraph 376. To the extent paragraph 376

purports to quote, characterize, or summarize a series of emails dated June 11, 2015, the

documents speak for themselves, and Ripple respectfully refers the Court to the full text of the

documents for an accurate and complete record of their contents.

       377.    Ripple denies the allegations in paragraph 377, which selectively quote,

mischaracterize, and take out of context a March 11, 2017 email sent to Mr. Garlinghouse. The

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents. Ripple avers that, before the




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quoted language in paragraph 377, the email states, “Ripple’s position [is] that XRP is not a

security.”

       378.    Ripple denies the allegations in paragraph 378. To the extent paragraph 378

purports to quote, characterize, or summarize an April 16, 2017 email sent to Mr. Garlinghouse,

the document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

       379.    Paragraph 379 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations. To the extent paragraph 379

purports to quote, characterize, or summarize a webpage dated July 28, 2017 titled “ICO=IPO:

Why the SEC Is Right to Regulate Initial Coin Offerings” that was posted on Ripple’s website,

the document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document an accurate and complete record of its contents.

       380.    Ripple denies the allegations in paragraph 380. To the extent paragraph 380

purports to quote, characterize, or summarize statements from a video of a December 14, 2017

interview of Mr. Garlinghouse posted on the BNN Bloomberg Canada website, the video speaks

for itself, and Ripple respectfully refers the Court to the full video for an accurate and complete

record of its contents.

       381.    Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 381 as to Mr. Garlinghouse’s “understanding” on unspecified dates in January 2018,

and the allegations are otherwise denied. To the extent paragraph 381 purports to quote,

characterize, or summarize statements from a video of a December 14, 2017 interview of Mr.

Garlinghouse posted on the BNN Bloomberg Canada website and an email regarding comments

on a shared Google Document dated January 22, 2018, the video and document speak for




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themselves, and Ripple respectfully refers the Court to the full video and the full text of the

document for an accurate and complete record of their contents.

          382.   Ripple denies the allegations in paragraph 382.

          383.   Ripple lacks sufficient information to either admit or deny the allegations in

paragraph 383 as to an email allegedly authored by to Equity Investor A, and they are therefore

denied.

          384.   Ripple denies the allegations in paragraph 384. To the extent paragraph 384

purports to quote, characterize, or summarize a transcript of an October 8, 2019 speech given by

Mr. Garlinghouse at the Economic Club of New York in Manhattan, the document speaks for

itself, and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

          385.   Paragraph 385 consists of characterizations and legal conclusions to which no

response is required. To the extent any response is necessary, Ripple denies the allegations,

except admits that Ripple made certain payments in XRP as a virtual currency substituting for

fiat currency as part of executive compensation. To the extent paragraph 385 purports to quote,

characterize, or summarize a “Notice of XRP Unit Bonus Award” given to Mr. Garlinghouse, the

document speaks for itself, and Ripple respectfully refers the Court to the full text of the

document for an accurate and complete record of its contents.

          386.   Ripple denies the allegations in paragraph 386. Ripple further lacks sufficient

information to either admit or deny the allegations in paragraph 386 as to Mr. Garlinghouse’s

“understanding” at an unspecified point in time and that contain insufficient citation or

attribution.




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       387.    The allegations in paragraph 387 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations. Ripple further

denies that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       388.    Paragraph 388 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits that at a certain

point in time, Mr. Garlinghouse participated in regular meetings called “XRP Markets Meeting”

during which participants at times discussed Ripple’s sales of XRP.

       389.    Paragraph 389 consists of characterizations to which no response is required. To

the extent any response is necessary, Ripple denies the allegations, except admits that Mr.

Garlinghouse was involved in discussions about Ripple’s sales of XRP.

       390.    Ripple denies the allegations in paragraph 390, except admits that, as CEO, Mr.

Garlinghouse was involved in and had authority regarding certain of Ripple’s business decisions.

       391.    The allegations in paragraph 391 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations.

       392.    Ripple admits the allegations in paragraph 392.

       393.    Ripple denies the allegations in paragraph 393, except admits that Ripple is aware

that the SEC entered into a tolling agreement with Mr. Larsen. The document speaks for itself,

and Ripple respectfully refers the Court to the full text of the document for an accurate and

complete record of its contents.

       394.    Ripple incorporates by reference its responses to paragraphs 1 through 393.

       395.    The allegations in paragraph 395 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations.




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       396.    The allegations in paragraph 396 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations. Ripple further

denies that the defined term “Offering” accurately describes Ripple’s numerous different types of

distributions of XRP over many years.

       397.    The allegations in paragraph 397 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations.

       398.    The allegations in paragraph 398 are legal conclusions to which no response is

required. To the extent any response is necessary, Ripple denies the allegations.

       399.    The allegations in paragraph 399 are legal conclusions and predictions about

future behavior to which no response is required. To the extent any response is necessary,

Ripple denies the allegations.

       400.    Ripple incorporates by reference its responses to paragraphs 1 through 393.

       401.    The allegations in paragraph 401 are legal conclusions to which no response is

required and which are not alleged against Ripple as a defendant. To the extent any response is

necessary, Ripple denies the allegations.

       402.    The allegations in paragraph 402 are legal conclusions to which no response is

required and which are not alleged against Ripple as a defendant. To the extent any response is

necessary, Ripple denies the allegations.

       403.    The allegations in paragraph 403 are legal conclusions to which no response is

required and which are not alleged against Ripple as a defendant. To the extent any response is

necessary, Ripple denies the allegations.




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       404.    The allegations in paragraph 404 are legal conclusions to which no response is

required and which are not alleged against Ripple as a defendant. To the extent any response is

necessary, Ripple denies the allegations.

       405.    Plaintiff’s prayer for relief and judgment (including sections I through V) does not

require a response, but to the extent any response is necessary, Ripple denies that Plaintiff is

entitled to the requested relief and judgment or to any relief whatsoever.

       406.    Ripple admits that Plaintiff demands a trial by jury.


                                  AFFIRMATIVE DEFENSES

       Ripple alleges, asserts, and states the following defenses as separate and distinct defenses

to the Complaint. By virtue of alleging these further defenses, Ripple does not assume any

burden of proof, persuasion, or production not otherwise legally assigned to it.


                     FIRST DEFENSE: FAILURE TO STATE A CLAIM

       The Complaint fails to state a claim upon which relief may be granted.


                      SECOND DEFENSE: XRP IS NOT A SECURITY

       Ripple did not violate Section 5 of the Securities Act because XRP is not a security or

“investment contract,” and Ripple’s distributions or sales of XRP are not “investment contracts.”

No registration was required in connection with any distribution or sale of XRP by Ripple.


            THIRD DEFENSE: NO LIKELIHOOD OF FUTURE VIOLATIONS

       The relief requested in the Complaint is inappropriate, in whole or in part, because the

Complaint fails to allege a reasonable likelihood of future violations by Ripple.




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           FOURTH DEFENSE: LACK OF DUE PROCESS AND FAIR NOTICE

        Ripple did not have, and Plaintiff failed to provide, fair notice that its conduct was in

violation of law, in contravention of Ripple’s due process rights. Due process requires that laws

give a person of ordinary intelligence a reasonable opportunity to know what is

prohibited. Here, due to the lack of clarity and fair notice regarding Defendants’ obligations

under the law, in addition to the lack of clarity and fair notice regarding Plaintiffs’ interpretation

of the law, Ripple lacked fair notice that its conduct was prohibited.

        The lack of fair notice to Ripple was exacerbated when, in May 2015, Ripple entered into

a settlement with the U.S. Department of Justice and FinCEN that described XRP as a

“convertible virtual currency,” and that expressly permitted future sales and distributions of

XRP, including in secondary markets, provided they were conducted by a money services

business registered with FinCEN and in compliance with federal laws and regulations applicable

to money services businesses.          Upon information and belief, Plaintiff knew of that 2015

settlement and yet, for years after, Plaintiff provided Defendants with no clear notice that, in

Plaintiff’s view, Defendants’ prospective XRP sales as permitted by the agreement would

nevertheless constitute a violation of another federal law.

        The lack of fair notice to Ripple was further exacerbated when, in June 2018, Plaintiff’s

then-Director of Corporation Finance told virtual currency purchasers that the agency did not

consider the virtual currencies bitcoin or ether to be securities and would “put[] aside the

fundraising that accompanied the creation of [e]ther” and look instead at the “present state of

[e]ther.”5 Ripple and other reasonable observers further reasonably understood those remarks to



5
 Director William Hinman, Division of Corporation Finance, Remarks at the Yahoo Finance All Markets Summit:
Crypto, Digital Asset Transactions: When Howey Met Gary (Plastic), (June 14, 2018), https://www.sec.gov/news/
speech/speech-hinman-061418.


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indicate that Plaintiff would permit present-day sales of virtual currencies given the current

market conditions for XRP.


                 FIFTH DEFENSE: EXEMPTION FROM REGISTRATION

       Even were the Court to find that XRP constitutes a security or investment contract within

Section 5 of the Securities Act, Plaintiff’s claim against Ripple is barred in whole or in part

because Ripple’s distributions or sales of XRP were exempt from the registration requirements

of the Securities Act and/or the regulations promulgated thereunder.


           SIXTH DEFENSE: LACK OF EXTRATERRITORIAL AUTHORITY

       Plaintiff lacks extraterritorial authority over all or some of the transactions alleged in the

Complaint that took place outside the United States and/or were made on foreign exchanges.


                    SEVENTH DEFENSE: STATUTE OF LIMITATIONS

       Plaintiff’s claim and Plaintiff’s request for civil monetary penalties are barred in whole or

part by an applicable statute of limitations.



                                     (Continued on next page)




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                                RESERVATION OF RIGHTS

       Ripple presently has insufficient knowledge or information upon which to form a belief

as to whether there may be other, as yet unstated, defenses available to Ripple, and therefore

expressly reserves, in accordance with applicable law, the right to amend or supplement its

Answer, defenses and all other pleadings, and the right to assert any and all other additional and

further defenses as appropriate, including defenses that may be revealed by discovery or

otherwise.


Dated: New York, New York
       January 29, 2021

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